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                  Exhibit 30 to
   The Governor’s Motion for Summary Judgment


                  Expert Report of Jeffrey Zax




             Gates et al. v. Polis, No. 1:22-cv-1866-GPG-SKC (D. Colo.)
                                September 11, 2023
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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-CV-1866-GPG-SKC

   BENJAMIN GATES,
   TRAVIS SWARTZ,
   KARL HONEGGER, and
   NATIONAL FOUNDATION FOR GUN RIGHTS, INC.

          Plaintiffs,

   v.

   JARED S. POLIS, in his official capacity as Governor of the State of Colorado,

          Defendant


                        FRCP 26(a)(2)(B) DECLARATION OF JEFFREY S. ZAX, Ph.D.


          Pursuant to 28 U.S.C. § 1746, I, Jeffrey S. Zax, Ph.D., declare under penalty of perjury

   that the following is true and correct.

          I am over the age of eighteen (18) years, competent to testify to the matters contained

   in this Declaration, and testify based on my personal knowledge and information.

          I have been asked by the Defendant to prepare an expert declaration for disclosure

   under FRCP 26(a)(2)(B) addressing the benefits and costs of civilian ownership of large-capacity

   magazines. This Declaration is based on my own personal knowledge and experience, and, if I

   am called as a witness, I could and would testify competently to the truth of the matters

   discussed in this Declaration. I hold all opinions expressed herein to a reasonable degree of

   professional certainty.

          I am being compensated at a rate of $350 per hour for all tasks and at half that fee per

   hour for time spent in travel on trips that exceed 90 minutes in duration.
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   I.     INTRODUCTION AND SUMMARY

   Legitimate individual self-defense is an established right in the United States. At the same time,
   governments have an obligation to maintain public safety. Public safety is essential for the
   efficiency of the economy.

   Firearms may be deployed in legitimate self-defense. However, the government may need to
   impose reasonable restrictions on firearm usage in order to fulfill the obligation to maintain
   public safety.

   Large-capacity magazines (LCMs) are firearm accessories. C.R.S. § 18-12-302, as adopted,
   defines an LCM as

          “(i) a fixed or detachable magazine, box, drum, feed strip, or similar device capable of
          accepting, or that is designed to be readily converted to accept, more than fifteen
          rounds of ammunition; (ii) a fixed, tubular shotgun magazine that holds more than
          twenty-eight inches of shotgun shells, including any extension device that is attached to
          the magazine and holds additional shotgun shells; or (iii) a nontubular, detachable
          magazine, box, drum, feed strip, or similar device that is capable of accepting more than
          eight shotgun shells when combined with a fixed magazine.”

   Under this bill, most sales and transfers of LCMs are illegal.

   LCMs may be deployed for the purpose of self-defense. They may also be deployed for the
   purpose of perpetrating other types of violence. This report reviews available evidence
   regarding the use of large-capacity magazines (LCMs) in legitimate self-defense and the
   challenges that LCMs pose to public safety.


   I.A.   LCMs are not classified as weapons by law enforcement authorities

   LCMs are firearm accessories.The Federal Bureau of Investigation (FBI) does not classify LCMs
   as weapons, themselves. Its National Incident-Based Reporting System (NIBRS) identifies 28
   “weapons” for the purpose of characterizing the weapons employed in recorded instances of
   criminal behavior.1 Among these weapons are 10 categories of firearm – “Firearm”, “Firearm
   (Automatic)”, “Handgun”, “Handgun (Automatic)”, “Rifle”, “Rifle (Automatic)”, “Shotgun”,
   “Shotgun (Automatic)”, “Other Firearm”, and “Other Firearm (Automatic)”. LCMs do not appear




          1
              NIBRS_WEAPON_TYPE.csv, available at https://cde.ucr.cjis.gov/LATEST/webapp/#.

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   among these firearm categories. LCMs are also absent from the remaining categories.2

   These 28 weapon categories accounted for all 23,711 weapons-based incidents reported in the
   NIBRS for Colorado in 2021.3 However, nine of the weapon categories were involved in no
   incidents – “Shotgun (Automatic)”, “Other Firearm (Automatic)”, "Pushed or Thrown Out
   Window", "Drowning", "Strangulation - Include Hanging", "Unarmed", "Lethal Cutting
   Instrument", "Club/Blackjack/Brass Knuckles", and "Motor Vehicle/Vessel". This indicates that
   the FBI list of weapon categories is comprehensive.

   “Colorado Crime Statistics”,4 as maintained by the Colorado Auto Theft Prevention Authority
   (CATPA) of the Colorado Department of Public Safety, employs a similar system of weapons
   categories.5 This system also identifies 10 types of firearms. All are similar or identical to those
   of the NIBRS – "Firearm (Type Not Stated)", "Firearm-Automatic (Type N...", "Handgun",
   "Handgun-Automatic", "Rifle", "Rifle-Automatic", "Shotgun", "Shotgun-Automatic", "Other
   Firearm", and "Other Firearm-Automatic". As in the NIBRS, LCMs are not represented by a
   firearm related category. As in the NIBRS, LCMs are also absent from the remaining 12 weapon
   categories.6

   The absence of LCMs from the lists of weapon categories maintained by the FBI and by the
   “Colorado Crime Statistics” implies that neither the FBI nor the CATPA consider them to be
   weapons. Instead, they are devices that alter the performance of the various weapon types
   included within the broad category of “firearms”.



          2
             The other 18 “weapons” are "Knife/Cutting Instrument", "Blunt Object", "Motor
   Vehicle/Vessel", "Poison", "Explosives", "Fire/Incendiary Device", "Drugs/Narcotics/Sleeping
   Pills", "Asphyxiation", "Other", "Unknown", "Personal Weapons", "None", "Unarmed", "Lethal
   Cutting Instrument", "Club/Blackjack/Brass Knuckles", "Pushed or Thrown Out Window",
   "Drowning", and "Strangulation - Include Hanging".
          3
            “Type of weapon involved by offense_04-13-2023.csv”, downloaded from “Type of
   Weapon involved by Offense”, at
   https://cde.ucr.cjis.gov/LATEST/webapp/#/pages/explorer/crime/crime-trend.
          4
              https://coloradocrimestats.state.co.us/tops.
          5
              https://coloradocrimestats.state.co.us/public/View/dispview.aspx.
          6
           These categories are "Knife/Cutting Instrument ...", "Blunt Object (Club, Hamme...",
   "Motor Vehicle/Vessel", "Poison", "Explosives", "Fire/Incendiary Device",
   "Drugs/Narcotics/Sleeping ...", "Other", "Unknown", "Personal Weapons (Hands, ...", "None",
   and "Asphyxiation (by Drowning...".

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   I.B.   LCMs are rarely used in legal self-defense

   Available evidence indicates that LCMs are essentially never necessary in legitimate self-
   defense. Moreover, few, if any, documented instances of firearm-assisted self-defense require
   the discharge of the numbers of rounds that are available in LCMs.


   I.C.   LCMs are never used by civilians who assist law enforcement

   Similarly, available evidence indicates that civilian ownership of LCMs does not assist in the
   maintenance of public safety. Should the maintenance of public safety require firearms
   equipped with LCMs, these accessories are available to law enforcement officers under C.R.S. §
   18-12-302. Available evidence indicates that law enforcement agencies essentially never
   require that civilians who provide them with assistance bear firearms that are equipped with
   LCMs.


   I.D.   LCMs inflict great harm on the economy

   At the same time, LCMs pose substantial threats to public safety. They increase the capacity for
   assault. Available evidence indicates that, because of this increased capacity, individuals
   bearing firearms equipped with LCMs can inflict heightened numbers of injuries and fatalities.

   In the United States, LCM-assisted injuries and fatalities are most visible in mass shootings.
   Firearms equipped with LCMs are commonly used in the mass shootings with the highest
   numbers of injuries and fatalities.

   Firearm-related violence in general, and violence perpetrated with firearms that are equipped
   with LCMs in particular, inflict enormous costs on the economy of the United States.


   I.E.   LCM bans are beneficial to the economy

   Available evidence indicates that bans on the sale or possession of LCMs reduce their use. This
   suggests that these bans also reduce the costs that are imposed on the economy by violence
   perpetrated with firearms that are equipped with LCMs.

   Consequently, available evidence indicates that bans on the sale or possession of LCMs do not
   interfere with the right to legitimate self-defense. They assist in the maintenance of public
   safety by reducing the exposure of the public and of law enforcement to the enhanced lethality
   of firearms equipped with LCMs. Therefore, these bans confer large gains to the economy of
   the United States.

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   II.     SELF-DEFENSE DOES NOT JUSTIFY UNRESTRICTED LCM OWNERSHIP

   Available evidence indicates that LCMs are not appropriate for self-defense. Documented
   instances of threats for which self-defense with a firearm equipped with an LCM would be
   appropriate are rare.

   Home invasions are situations in which victims might reasonably invoke rights to self-defense.
   However, in Colorado home invasions are less frequent than many other risks that are
   conventionally understood to be rare: fatal car accidents, organ transplants, alcohol-related
   fatal car accidents and births of three or more infants.

   In nearly 30% of few home invasions that do take place, the perpetrator does not display a
   firearm. The probability of being injured in a lightning strike is approximately the same as the
   probability of being a victim in a home invasion who displays a firearm.

   The probability of being injured in a lightning strike is greater than the probability of being the
   victim of a home invasion in which the perpetrator actually discharges a firearm. Firearm
   discharges by both perpetrators and victims are always well below the capacity of an C.R.S. §
   18-12-302-compliant LCM.

   Legitimate self-defense with a firearm is legal. However, instances in which individuals self-
   report the use of firearms for alleged self-defense are not required to conform to the standards
   that are required of legal self-defense. Firearm-assisted self-defense will be claimed more often
   than is credible. It will also be claimed more often than is economically efficient.

   Many, if not most, acts of claimed firearm-assisted self-defense are probably illegal.
   Consequently, self-reported firearm-assisted self-defense does not provide a legitimate
   rationalization for LCM ownership.


   II.A.   Colorado home invasions and self-defense7

   There appear to be no comprehensive data regarding the use of LCMs in all instances of alleged
   self-defense in the State of Colorado. However, informative data regarding the employment of
   LCMs became available through the case of Cooke, et al. v. Hickenlooper, U.S. District Court
   Case No. 13-CV-001300.



           7
            This section is adapted from the “Supplemental Report of Jeffrey S. Zax”, section II,
   “Sheriffs’ Responses to Defendant’s Interrogatories”, submitted in Cooke, et al. v. Hickenlooper,
   U.S. District Court Case No. 13-CV-001300.

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   Initially, the Sheriffs from 55 Colorado counties joined that case as co-plaintiffs. During the
   period in which they retained that status, the Sheriffs were required to respond to Defendant’s
   interrogatories. Fifty-four of the Plaintiff Sheriffs, all but the Sheriff of Costilla County,
   responded to Defendant’s interrogatories.

   These interrogatories addressed the frequency and characteristics of home invasions between
   1 January 2004 and the date of response, typically in August 2013. LCMs ownership was
   unrestricted in the State of Colorado during this period.


   II.A.1. Home invasions are rare8

   The responses of the 54 Sheriffs to the interrogatories in Cooke, et al. v. Hickenlooper
   demonstrate that home invasions in Colorado are extremely rare. Home invasions by armed
   perpetrators are rarer still. Victims are even less likely to be armed than are perpetrators.
   Large-capacity magazines almost never appear in home invasions. Neither perpetrator nor
   victim ever discharges the numbers of rounds that would encourage, much less require, the use
   of large-capacity magazines.

   The first question of the Defendant’s Interrogatories required that Sheriffs who were among
   the original Plaintiffs in Cooke, et al. v. Hickenlooper case identify “each and every home
   invasion or ‘robbery in the home’ to which [their] department has responded since January 1,
   2004". It requested that the Sheriffs

          a.     “describe the circumstances surrounding the home invasion/robbery in the
                 home, including: the date and location (by city and county), the number of
                 perpetrators involved, whether or not the perpetrator(s) carried firearms, and
                 whether or not the perpetrator(s), victim(s), or others fired any shots”,

          b.     “if a firearm was fired or otherwise used or displayed by any person, identify
                 who used, displayed, or discharged the firearm, the manner in which they did so,
                 whether the firearm used a magazine, the capacity of any magazines from which
                 bullets were fired, the number of rounds fired by each individual, and whether
                 any person was shot”, and

          c.     “if any person was shot, identify the individuals who inflicted and suffered any
                 gunshot injuries and state whether any individual was killed.”


          8
           This section is adapted from the “Supplemental Report of Jeffrey S. Zax”, section II.A,
   “Home invasions”, submitted in Cooke, et al. v. Hickenlooper, U.S. District Court Case No. 13-CV-
   001300.

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  The responses of the 54 responding Plaintiff Sheriffs, compiled here, report the number of
  times that residents of Plaintiff Sherrifs’ counties experienced home invasions, the number of
  home invasions in which the perpetrators of home invasions were armed, the number of home
  invasions in which armed perpetrators were equipped with large-capacity magazines and the
  number of rounds discharged by perpetrators. Similarly, the responses of the Plaintiff Sheriffs
  described the number of home invasions in which victims displayed firearms while being
  victimized, the number of home invasions in which these firearms were equipped with large-
  capacity magazines and the number of rounds discharged by victims.

  The analysis below converts these counts into frequencies with respect to the populations in
  Plaintiff Sherrifs’ counties. This allows comparisons of the relative frequency of home invasions
  and their characteristics to the relative frequencies of other uncommon events. These
  comparisons provide perspectives from which to assess whether home invasions and, in
  particular, firearm use during these invasions, are common experiences.

  Presumably, if Plaintiff Sheriffs did not provide service to any portions of their counties, Plaintiff
  Sheriffs would have so indicated. This would be necessary to ensure that their responses to the
  interrogatories were interpreted correctly. In the absence of any such indication, the tables
  below assume that each of their responses refers to the entire county which each serves. The
  associated text discusses the consequences of alternative assumptions.




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                                              Table 1

                           Home invasions in Plaintiff Sheriffs’ Counties

                         Year     Number of Population in       Home invasions
                                      home       Plaintiff         per million
                                   invasions     Sheriff’s         population
                                                counties
                    Unknown              100
                        2004              18   3,471,329                    5.19
                        2005              17   3,522,269                    4.83
                        2006              17   3,592,937                    4.73
                        2007              34   3,652,360                    9.31
                        2008              25   3,713,880                    6.73
                        2009              33   3,769,778                    8.75
                        2010              22   3,827,450                    5.75
                        2011              17   3,873,284                    4.39
                        2012              24   3,926,010                    6.11
                        2013              20   3,981,147                    5.02

         Sources: Plaintiffs' responses to interrogatories yield "Number of home invasions".
         Home invasion data for 2013 refers only to elapsed part of current year. "Population in
         Plaintiff Sheriffs’ Counties" is from “Supplemental Report of Jeffrey S. Zax” in Cooke, et
         al. v. Hickenlooper and
         https://www.census.gov/data/datasets/time-series/demo/popest/2010s-counties-total.
         html.


  Table 1 presents the annual count of home invasions, as reported by the Plaintiff Sheriffs. In
  total, Plaintiff Sheriffs reported 327 home invasions between 1 January 2004 and August 2013.
  Of these, Plaintiff Sheriffs were unable to assign a date to 100, or 30.6%, despite explicit
  instructions to do so in Defendant’s Interrogatory 1a. Consequently, the credibility of these
  reports must be suspect.

  The 227 dated home invasions were equivalent to an average of approximately 23 home
  invasions per year.9 With the 100 undated home invasions, the annual average of all reported



         9
          This and all analogous calculations exclude data for 2013 because this year was not
  complete when the responses to the Interrogatories were submitted in Cooke, et al. v.
  Hickenlooper.

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  home invasions was approximately 33 per year.10 For comparison purposes, in 2012, the
  Colorado State Lottery awarded prizes of $1,000,000 or more to 22 people, of $250,000 or
  more to 40 people and of $100,000 or more to 84 people.11

  As given in Table 1, the 227 dated home invasions represent between four and 10 home
  invasions per million residents per year in Plaintiff Sheriffs’ Counties in the years under
  examination. Averaged across all years, they represent 6.21 home invasions per million people
  per year. Including the 100 undated home invasions, the average number of home invasions
  per million people per year is 8.76.




         10
           All calculations that include undated home invasions include all reports from all ten
  years. Reports for the year 2013 must be included, even though it is incomplete, because
  undated home invasions, if they actually took place, may have occurred during this year.
  Therefore, calculations including undated home invasions may understate the true numbers of
  home invasions on annualized bases because they cannot include complete data for 2013. At
  the same time, they may overstate true annualized values to the extent that undated reports of
  home invasions are not trustworthy.
         11
           The list of winners and winnings was originally available at
  https://www.coloradolottery.com/PLAY/PLAYERS-TOOLS/WINNERS-REPORT/?CFID=4397656&C
  FTOKEN=70771318&jsessionid=20302b17809f08550700b695a1d776d53425. This webpage is
  no longer available.

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                                                 Table 2

                                     Traffic fatalities in Colorado

                          Year   Total traffic      Colorado           Total traffic
                                    fatalities     population         fatalities per
                                                                             million
                                                                        population
                         2004             667       4,608,811                144.72
                         2005             606       4,662,534                129.97
                         2006             535       4,745,660                112.73
                         2007             554       4,821,784                114.90
                         2008             548       4,901,938                111.79
                         2009             465       4,976,853                 93.43
                         2010             448       5,049,717                 88.72
                         2011             447       5,118,526                 87.33
                         2012             474       5,192,647                 91.28
                         2013             482       5,269,035                 91.48

         Sources: http://www-fars.nhtsa.dot.gov/States/StatesAlcohol.aspx reports "Total traffic
         fatalities". "Colorado population" is from “Supplemental Report of Jeffrey S. Zax” in
         Cooke, et al. v. Hickenlooper and
         https://www.census.gov/data/datasets/time-series/demo/popest/2010s-counties-total.
         html.


  Table 2 reports on the frequency of traffic-related fatalities in Colorado. This table provides an
  objective measure of a well-defined risk to which Colorado residents are subject. The
  comparison between these measures and those indicating the frequency of reported home
  invasions provides a standard by which to assess the severity of the risks associated with these
  invasions.

  Table 2 presents the reported number of traffic fatalities in Colorado during the period from
  2004 through 2013. On average, Colorado experienced 522 fatalities per year during that
  period. During these ten years, the rate of traffic fatalities varied between approximately 87
  and 155 per million people in Colorado per year. Averaged over all ten years, the rate was
  approximately 106 per million people per year.

  This demonstrates that traffic fatalities were approximately 18 times more frequent than were
  home invasions with identifiable dates. They were approximately 12 times as frequent as all
  reported home invasions.


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  If the reports of Plaintiff Sheriffs did not account for the entire counties that they served, the
  relative frequency of home invasions among the population served would be higher. However,
  the relative frequency of dated reported home invasions would still have been less than the
  relative frequency of traffic fatalities unless the Plaintiff Sheriffs served, on average, only 5.6%
  of the populations in their counties.


                                                Table 3

                                    Organ transplants in Colorado

                     Year           All organ           Colorado    Organ transplants per
                                 transplants          population       million population
                    2004                  382          4,608,811                     82.9
                    2005                  436          4,662,534                     93.5
                    2006                  405          4,745,660                     85.3
                    2007                  399          4,821,784                     82.7
                    2008                  399          4,901,938                     81.4
                    2009                  433          4,976,853                     87.0
                    2010                  478          5,049,717                     94.7
                    2011                  484          5,118,526                     94.6
                    2012                  431          5,192,647                     83.0
                    2013                  189          5,269,035                     35.9

         Sources: "All organ transplants" is from
         http://optn.transplant.hrsa.gov/latestData/stateData.asp?type=state. "Colorado
         population" is from “Supplemental Report of Jeffrey S. Zax” in Cooke, et al. v.
         Hickenlooper and
         https://www.census.gov/data/datasets/time-series/demo/popest/2010s-counties-total.
         html.


  Table 3 reports the number of organ transplants that took place in Colorado during the period
  from 2004 through 2013. This report presents another objective measure of a well-defined risk
  to which Colorado residents are subject.

  On average, Colorado experienced 404 organ transplants per year during this period. During
  these ten years, the rate of organ transplants varied between approximately 35 and 95 per
  million people in Colorado per year. Averaged over all ten years, the rate was approximately
  81.8 per million people per year.

  This demonstrates that organ transplants were approximately 13 times more frequent than

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  were home invasions with identifiable dates. If the reports of Plaintiff Sheriffs did not account
  for the entire counties that they served, the relative frequency of dated reported home
  invasions would still have been less than the relative frequency of organ transplants unless the
  Plaintiff Sheriffs served, on average, only 7.6% of the populations in their counties.


                                                Table 4

                    Traffic fatalities with driver BAC at .08 or above in Colorado

                 Year    Traffic fatalities,       Colorado        Total traffic fatalities,
                        driver BAC .08 or         population    driver BAC .08 or above,
                                    above                         per million population
                 2004                   200        4,608,811                         43.40
                 2005                   206        4,662,534                         44.18
                 2006                   179        4,745,660                         37.72
                 2007                   167        4,821,784                         34.63
                 2008                   176        4,901,938                         35.90
                 2009                   158        4,976,853                         31.75
                 2010                   127        5,049,717                         25.15
                 2011                   161        5,118,526                         31.45
                 2012                   172        5,192,647                         33.12
                 2013                   172        5,269,035                         32.64

         Sources: http://www-fars.nhtsa.dot.gov/States/StatesAlcohol.aspx reports "Total traffic
         fatalities". "Colorado population" is from “Supplemental Report of Jeffrey S. Zax” in
         Cooke, et al. v. Hickenlooper and
         https://www.census.gov/data/datasets/time-series/demo/popest/2010s-counties-total.
         html.


  Table 4 presents a third objective measure of risks. It reports the number of traffic fatalities in
  Colorado involving a driver with Blood Alcohol Content (BAC) at or above .08, the legal
  threshold for intoxication in this State. These fatalities are a subset of those tabulated in Table
  2. Naturally, therefore, they were less frequent.

  Nevertheless, they also occurred with much greater frequency than did home invasions. On
  average, 172 alcohol-related traffic fatalities occurred annually during the period from 2004 to
  2012. This average was equivalent to an average of approximately 35 alcohol-related fatalities
  per million people per year.

  In other words, alcohol-related traffic fatalities were nearly six times as frequent as were dated

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  home invasions. If the reports of Plaintiff Sheriffs did not account for the entire counties that
  they served, the relative frequency of dated reported home invasions would still have been less
  than the relative frequency of alcohol-related traffic fatalities unless the Plaintiff Sheriffs
  served, on average, only 17.8% of the populations in their counties.


                                                Table 5

                             Births of three or more infants in Colorado

                       Year Births of three         Colorado       Births of three or
                                   or more         population      more per million
                                                                          population
                      2004               114         4,608,811                   24.7
                      2005               106         4,662,534                   22.7
                      2006                90         4,745,660                   19.0
                      2007                96         4,821,784                   19.9
                      2008                96         4,901,938                   19.6
                      2009               108         4,976,853                   21.7
                      2010               106         5,049,717                   21.0
                      2011                56         5,118,526                   10.9
                      2012                36         5,192,647                    6.9
                      2013                77         5,269,035                   14.6

         Sources: Various issues of the “National Vital Statistics Reports” report births of three or
         more infants. "Colorado population" is from “Supplemental Report of Jeffrey S. Zax” in
         Cooke, et al. v. Hickenlooper and
         https://www.census.gov/data/datasets/time-series/demo/popest/2010s-counties-total.
         html.


  Table 5 presents a fourth objective measure of uncommon experiences. It reports the number
  of births in Colorado involving three or more infants. These also occurred with much greater
  frequency than did home invasions. On average, 88.5 births of three or more infants occurred
  annually during the period from 2004 to 2011. This average was equivalent to an average of
  approximately 17.9 births of triplets or more per million people per year.

  In other words, births of triplets or more were nearly three times as frequent as were dated
  home invasions. If the reports of Plaintiff Sheriffs did not account for the entire counties that
  they served, the relative frequency of dated reported home invasions would still have been less
  than the relative frequency of births of three or more infants unless the Plaintiff Sheriffs served,
  on average, only 34.7% of the populations in their counties.

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                                              Table 6

      Home invasions in Plaintiff Sheriffs’ Counties in which perpetrators displayed firearms

          Year    Number of      Upper bound to     Population in        Upper bound to home
                      home      number of home Plaintiff Sheriffs’           invasions in which
                   invasions invasions in Plaintiff    Counties          perpetrator possessed
                              Sheriffs’ counties in                        firearms per million
                               which perpetrator                                    population
                              possessed firearms
     Unknown             100                      9
         2004             18                     13         3,471,329                       3.74
         2005             17                     12         3,522,269                       3.41
         2006             17                     15         3,592,937                       4.17
         2007             34                     26         3,652,360                       7.12
         2008             25                     16         3,713,880                       4.31
         2009             33                     22         3,769,778                       5.84
         2010             22                     16         3,827,450                       4.18
         2011             17                     10         3,873,284                       2.58
         2012             24                     17         3,926,010                       4.33
         2013             20                     14         3,981,147                       3.52

         Sources: Plaintiffs' Responses to Interrogatories yield "Number of home invasions" and
         "Number of home invasions in which perpetrator possessed firearms". "Number of
         home invasions in which perpetrator possessed firearms" includes instances in which
         the number of firearms, if any, is unknown. Data for 2013 refers only to elapsed part of
         current year. "Population in Plaintiff Sheriffs’ Counties" is from “Supplemental Report of
         Jeffrey S. Zax” in Cooke, et al. v. Hickenlooper and
         https://www.census.gov/data/datasets/time-series/demo/popest/2010s-counties-total.
         html.


  Table 6 restricts the counts of all home invasions to only those in which perpetrators displayed
  firearms. This occurred in as many as 161, or 70.9%, of 227 dated home invasions.

  This total is almost surely an upper bound. The Response to Interrogatories from the Sheriff of
  Adams County identified 71 home invasions in which a firearm was present. However, that
  response does not identify whether firearms were in the possession of perpetrators or victims.
  Table 6 assigns possession in all of these instances to the perpetrators. If the victim was in
  possession of a firearm in any of these home invasions, this assignment exaggerates the


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  number of home invasions in which perpetrators were armed.

  Among dated home invasions in which perpetrators displayed firearms, the upper bounds
  varied between approximately 2.5 and seven such instances per million people per year.
  Averaged over all years, dated home invasions in which perpetrators displayed firearms
  occurred no more than 4.3 times per million people per year.

  In comparison to Table 2, the average number of home invasions per million population in
  which perpetrators displayed firearms was no more than about four percent of the average
  number of traffic fatalities per million population. In comparison to Table 4, the average
  number of home invasions per million population in which perpetrators displayed firearms was
  no more than about 12 percent of the average number of alcohol-related traffic fatalities per
  million population. In comparison to Table 5, the average number of home invasions per million
  population in which perpetrators displayed firearms was no more than about 24 percent of the
  average number of births of three or more infants per million population.12

  In the Plaintiff Sheriffs’ Counties during this period, only two confirmed home invasions
  occurred in which a perpetrator displayed a firearm with a large-capacity magazine. Both took
  place in Mesa County. The first occurred on 9 September 2007. The second occurred on 25
  November 2011.

  Therefore, in 2004 through 2006 and 2008 through 2010, the rate at which residents of Plaintiff
  Sheriffs’ Counties experienced home invasions in which the perpetrator was armed with a
  large-capacity magazine was zero per million people. In 2007 and 2011, this rate was less than
  one-third of an instance per million people.




         12
           Home invasions in which perpetrators display firearms occured much less frequently
  in Colorado than did reported sightings of unidentified flying objects.

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                                              Table 7

     Home invasions in Plaintiff Sheriffs’ Counties in which perpetrators discharged firearms

           Year Number of            Number of home Population in     Home invasions in
                    home         invasions in Plaintiff   Plaintiff  which perpetrator
                 invasions Sheriffs’ counties in which    Sheriffs’ discharged firearms
                             perpetrator discharged     Counties             per million
                                             firearms                       population
       Unknown         100                           2
           2004         18                           2  3,471,329                   0.58
           2005         17                           4  3,522,269                   1.14
           2006         17                           2  3,592,937                   0.56
           2007         34                          10  3,652,360                   2.74
           2008         25                           1  3,713,880                   0.27
           2009         33                           2  3,769,778                   0.53
           2010         22                           8  3,827,450                   2.09
           2011         17                           5  3,873,284                   1.29
           2012         24                           7  3,926,010                   1.78
           2013         20                           3  3,981,147                   0.75

         Sources: "Number of home invasions" and "Number of home invasions in which
         perpetrator possessed firearms" compiled from Plaintiffs' responses to interrogatories.
         "Number of home invasions in which perpetrator possessed firearms" includes instances
         in which the number of firearms, if any, is unknown. Data for 2013 refers only to
         elapsed part of current year. "Population in Plaintiff Sheriffs’ Counties" is from
         “Supplemental Report of Jeffrey S. Zax” in Cooke, et al. v. Hickenlooper and
         https://www.census.gov/data/datasets/time-series/demo/popest/2010s-counties-total.
         html.


  Table 7 presents the number of home invasions in which perpetrators discharged firearms. This
  occurred in 44, or 19.4%, of the 227 dated home invasions. Among dated home invasions,
  firearms discharges by perpetrators occurred at rates varying between barely one-quarter of
  one occurrence per million people per year to somewhat less than three per million people per
  year. The rate, averaged over all years, was 1.18 per million residents per year.

  This rate corresponds to approximately six firearms discharges in the course of a home invasion
  per year in the State of Colorado as a whole. In comparison, the Colorado State Lottery
  awarded six prizes in excess of $2,000,000 in 2012.

  In neither of the two confirmed instances in which perpetrators displayed firearms with large-

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  capacity magazines did the perpetrators discharge the entirety of a magazine. In the Mesa
  County home invasion of 9 September 2007 the perpetrator discharged a single round. In the
  Mesa County home invasion of 25 November 2011, the perpetrator discharged 3 rounds.13


                                                Table 8

                                   Lightning casualties in Colorado

                   Year    Injured or killed by   Colorado     Lightning casualties
                            lightning strikes in population             per million
                                      Colorado                          population
                   2004                      34 4,608,811                     7.38
                   2005                      14 4,662,534                     3.00
                   2006                      21 4,745,660                     4.43
                   2007                        8 4,821,784                    1.66
                   2008                      11 4,901,938                     2.24
                   2009                      10 4,976,853                     2.01
                   2010                        5 5,049,717                    0.99
                   2011                        9 5,118,526                    1.76
                   2012                        1 5,192,647                    0.19
                   2013                      22 5,269,035                     4.18


         Sources: http://www.crh.noaa.gov/pub/?n=/ltg/county_stats_1.php reports "Injured or
         killed by lightning strikes in Colorado". "Population in Plaintiff Sheriffs’ Counties" is from
         “Supplemental Report of Jeffrey S. Zax” in Cooke, et al. v. Hickenlooper and
         https://www.census.gov/data/datasets/time-series/demo/popest/2010s-counties-total.
         html.


  Table 8 provides an objective measure of risks to which residents of Colorado are subject that
  can be compared to the risk of being the victim in a home invasion in which the perpetrator
  discharges a firearm. It reports that 135 injuries and fatalities due to lightning strikes occurred
  in Colorado during the period from 2004 through 2013. The average number of casualties was


         13
             In all of the 46 home invasions in which perpetrators discharged firearms, there were
  no confirmed instances in which a perpetrator discharged 16 rounds or more. According to the
  Response to Interrogatories of the Sheriff in Larimer County, a home invasion took place there
  on 4 April 2011 in which the perpetrator fired "numerous" rounds from four different firearms.
  None of the firearms was known to be equipped with a large-capacity magazine.

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  13.5 per year. The casualty rate varied from between nearly zero to somewhat more than four
  per million people per year. Over the entire period, it averaged 2.74 casualties per million
  people per year.

  The comparison between Tables 6 and 8 demonstrates that casualties inflicted by lightning
  were more than half as likely as home invasions in which perpetrators displayed firearms. The
  comparison between Tables 7 and 8 demonstrates that, in Colorado, the risk of being injured by
  lighting is more than twice as the risk of being a victim of a home invasion in which perpetrators
  actually discharge firearms.


                                               Table 9

         Home invasions in Plaintiff Sheriffs’ Counties in which victims displayed firearms

          Year Number of           Number of home           Population in        Home invasions in
                   home         invasions in Plaintiff           Plaintiff   which victim possessed
                invasions Sheriffs’ counties in which           Sheriffs’               firearms per
                          victim possessed firearms            Counties          million population
      Unknown         100                           5
          2004         18                           6          3,471,329                        1.73
          2005         17                           8          3,522,269                        2.27
          2006         17                           6          3,592,937                        1.67
          2007         34                          12          3,652,360                        3.29
          2008         25                          12          3,713,880                        3.23
          2009         33                          12          3,769,778                        3.18
          2010         22                          11          3,827,450                        2.87
          2011         17                           7          3,873,284                        1.81
          2012         24                          15          3,926,010                        3.82
          2013         20                          12          3,981,147                        3.01

         Sources: Plaintiffs' Responses to Interrogatories yield "Number of home invasions" and
         "Number of home invasions in which perpetrator possessed firearms”. "Number of
         home invasions in which perpetrator possessed firearms" includes instances in which
         the number of firearms, if any, is unknown. Data for 2013 refers only to elapsed part of
         current year. "Population in Plaintiff Sheriffs’ Counties" is from “Supplemental Report of
         Jeffrey S. Zax” in Cooke, et al. v. Hickenlooper and
         https://www.census.gov/data/datasets/time-series/demo/popest/2010s-counties-total.
         html.


  Table 9 reports the number of instances in which victims of a home invasion displayed firearms.

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  The average number of instances per year among dated home invasions across all complete
  years was 10.1. This corresponded to an average rate of 2.71 instances per million people per
  year. In comparison to Table 8, instances in which victims of home invasions displayed firearms
  were almost exactly as frequent as instances in which Coloradans were injured or killed by
  lightning strikes.14

  Only two confirmed home invasions occurred during this period in the Plaintiff Sheriffs’
  Counties in which a victim displayed a firearm with a large-capacity magazine. They occurred in
  Weld County on 14 September 2005 and in Larimer County on 29 November 2012.

  Victims discharged firearms in no more than 19 home invasions during this period. This
  corresponds to less than two such instances per year, or approximately one instance per two
  million in population per year. There were no confirmed home invasions in which a victim
  discharged 16 or more rounds.15

  In sum, this analysis of the Responses to Interrogatories from the Plaintiff Sheriffs demonstrates
  conclusively that home invasions were rare in Plaintiff Sheriffs’ Counties. Home invasions in
  which perpetrators displayed firearms were rarer still.

  Home invasions in which perpetrators discharged firearms were substantially less common
  than injuries from lightning strikes. Home invasions in which victims displayed firearms were
  only as common as were injuries from lightning strikes.

  The ten years under study in the 55 Plaintiff Sheriffs’ Counties represent, collectively, well over
  thirty million person-years. Within this sample, only 65 home invasions occurred in which either
  perpetrators or victims discharged firearms.

  Although LCM ownership was unrestricted at this time, only four home invasions occurred in
  which a firearm was known to be equipped with a large-capacity magazine. There was not a
  single confirmed instance in which the number of discharges was equal or even close to the
  capacity of a large-capacity magazine.




         14
             In five of the 106 home invasions in which victims displayed firearms, perpetrators
  stole firearms belonging to the victims.
         15
           During a home invasion in El Paso County on 10 August 2004, the victim discharged "1
  or more" rounds.

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  II.A.2. Sheriffs’ deputies never use LCMs in self-defense16

  The fifth of the Defendant’s Interrogatories requested that Plaintiff Sheriffs “(d)escribe every
  occasion since January 1, 2004 when you, or your predecessor sheriff(s), a sheriff’s deputy, or a
  family member living with these individuals has discharged or otherwise used or displayed a
  firearm in defense of self, home, or other family members.” Responses from 53 Plaintiff
  Sheriffs, excluding that from the Sheriff of Weld County, reported a total of 15 instances of off-
  duty defense of self, family or home from other individuals.17

  These reports indicate that such instances occurred approximately 1.5 times per year. A firearm
  was discharged in only one of these instances.

  The Weld County Sheriff’s Response describes responses to an employee survey addressing this
  question. The survey elicited approximately 200 assertions of armed self-defense.

  The Sheriff’s Response observes that many of these assertions “reflect an interpretation of this
  phrase (‘otherwise used or displayed’) to encompass wearing a firearm, wearing a firearm
  openly, or possessing a firearm in circumstances making it readily available for self-defense”. In
  other words, these responses seem to have described instances in which individuals had been
  prepared to defend themselves, their families and their homes, rather than instances in which
  they actually did so.

  Only five employees of the Weld County Sheriff’s Office reported that they had actually
  discharged their firearms in self-defense.18 Even so, these reports represent a much higher rate
  of discharge than that reported in the other 53 Plaintiff Sheriffs’ Counties. The extent to which
  these discharges were responses to legitimate threats is an open question.

  Of the five reported instances in which employees of the Weld County Sheriff discharged
  firearms in self-defense, the number of reported rounds exceeded four in only one instance. In
  that instance, the reported number of discharges was “more than 20". This is the only alleged
  instance in any of the 54 Plaintiff Sheriffs’ Counties of off-duty defense of self, family or home

         16
            This section is adapted from the “Supplemental Report of Jeffrey S. Zax”, section II.E,
  “Sheriffs’ Responses to Defendant’s Interrogatories”, submitted in Cooke, et al. v. Hickenlooper,
  U.S. District Court Case No. 13-CV-001300.
         17
              Sheriffs reported additional instances of firearm usage with respect to wild or unruly
  animals.
         18
            These are responses to the question “Since 2004, if employed at the Weld County
  Sheriff’s Office during the incident, how many times have you discharged a firearm in defense
  of your home, yourself or another?”

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  in which the capacity of magazines that are compliant with C.R.S. § 18-12-302 would have been
  exhausted.19


  II.B.   Frequencies of self-defense claims are economically inefficient

  Self-defensive activities can be economically inefficent. In some cases, they impose non-
  pecuniary externalities on the targets of self-defense, as well on individuals who are not
  targeted. The government has a responsibility to regulate purported self-defensive activities in
  order to encourage economic efficiency.

  Externalities are activities that affect the well-being of others without their participation.20
  Positive externalities improve the welfare of others. Negative externalities reduce the welfare
  of others.

  As an example, an increase in the supply of food by a particular producer will reduce the price
  of food. This will yield both positive and negative externalities.

  The reduction in the price of food will improve the well-being of consumers. They can maintain
  their consumption of food at a lower level of expenditure, or increase their consumption of
  food without increasing their expenditure. They benefit even though they were not responsible
  for the increase in food supply.

  In contrast, the reduction in the price of food will reduce the well-being of other producers.
  They will have to accept reduced revenue for the food that they supply, or increase their output
  in order to maintain their revenue. Their well-being is impaired even though they were not
  responsible for the increase in food supply.

  This is an example of a pecuniary externality. Pecuniary externalities express themselves
  through market interactions. They are known, colloquially, as “market signals”. While they may
  confer advantages and some and disadvantages on others, they move markets in the direction




          19
          The Response of the Weld County Sheriff did not identify the type of firearm
  employed in this instance, nor whether it was equipped with an LCM.
          20
            For an introduction to this topic, see Chapter 5, “Externalities”, in Public Finance, by
  Harvey S. Rosen and Ted Gayer, McGraw-Hill Education, 10th edition, 2014. For a more
  advanced discussion, see chapter 8, “Externalities”, in Intermediate Public Economics, by Jean
  Hindriks and Gareth D. Myles, Massachusetts Institute of Technology, 2nd edition, 2013.

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  of economic efficiency without government intervention.21

  Non-pecuniary externalties are externalities that are not transacted through the market.
  Because their value is not monetized, they are provided in quantities that are not economically
  efficient.

  Positive non-pecuniary externalities improve the welfare of others without compensation to
  those who provide them. In the absence of compensation, those who provide positive non-
  pecuniary externalities will not recognize the benefit that their activities confer on others.
  Consequently, they will provide fewer positive non-pecuniary externalities than would be
  economically efficient. Contributions to neighborhood amenities, such as lawn maintenance,
  are an example.

  Negative non-pecuniary externalities reduce the welfare of others without cost to those who
  impose them. In the absence of costs, those who impose negative non-pecuniary externalities
  will not bear the burden that their activities impose on others. Consequently, they will impose
  more negative non-pecuniary externalities than would be economically efficient. Contributions
  to neighborhood disamenities, such as loud noise, are an example.

  In the presence of non-pecuniary externalities, economic efficiency cannot be attained through
  market activity alone. Collective action is required in order to ensure that the incentives to
  produce or restrict non-pecuniary externalities are commensurate with the value that they
  create or destroy. This implies that government intervention is required in order to attain
  economic efficiency.


  II.B.1. Self-defensive activities impose negative externalities on targeted individuals

  A societal commitment to “equal protection under the law” implies that society does not place
  different ex ante values on the well-being of different people. In general, economic efficiency
  therefore requires that interactions between individuals place approximately equivalent weight
  on the interests of all parties.

  In general, individuals value their own well-being more than the they value the well-being of
  others. Consequently, they will take actions intended to protect their well-being in preference
  to the well-being of others. This implies that they have a tendency to impose negative non-
  pecuniary externalities on others.


         21
           For a more extensive discussion, see“Public policy toward pecuniary externalities”, by
  Randall G. Holcombe and Russell S. Sobel in the Public Finance Review, Volume 29, Number 4,
  2001, pages 304-325.

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  When individuals consider potential acts of self-defense, they typically place primary emphasis
  on the value that they will themselves derive from these acts. They are less concerned with the
  harm that they might impose on the individual who they would target with these acts. Violence,
  whether or not perpetrated on the pretext of self-defense, is a specific form of negative non-
  pecuniary externalty.

  These negative non-pecuniary externalities will be self-amplifying. When more individuals
  acquire firearms for ostensible self-defense, the risk that others will encounter negative non-
  pecuniary externalities from these firearms increases. This increases the incentive for others to
  acquire firearms for ostensible self-defense. In the absence of appropriate regulation, this
  cascade of negative non-pecuniary externalities will constitute a substantial economic
  distortion.


  II.B.2. Self-defensive activities impose negative externalities on individuals not targeted

  The failure to properly regulate the negative non-pecuniary externalities of self-defensive
  firearm use ensures that firearms will be discharged at perceived threats with frequencies that
  are excessive, and therefore economically inefficient. This inefficiency will be increased if self-
  defensive firearm discharges do not hit their targets. Inaccurate discharges present risks to
  individuals who were not an intended target. This is an additional non-pecuniary externality.

  Inaccurate discharges are almost surely common. Law enforcement officers are, presumably,
  relatively well-trained in firearm usage. Nevertheless, law enforcement officers regularly miss
  targets when they intentionally discharge firearms in the line of duty.

  Donner and Popovich22 summarize recent research regarding the accuracy of firearm discharges
  by law enforcement officers as follows:

         “According to previous studies, police departments rarely ever achieve a 50 percent hit
         rate (e.g. Geller and Scott, 1992; Copay and Charles, 2001). A study conducted on
         shooting accuracy in 13 large American police departments during the 1970s and 1980s
         found that between 22 and 42 percent of rounds fired by officers hit their intended
         target (Geller and Scott, 1992). Several reports have also focused on the largest US
         police department, New York City. OIS data revealed hit rates of 26, 31 and 23 percent
         in 1987, 1988 and 1990, respectively (NYPD). Data collected between 1999 and 2000
         revealed a 15 percent hit rate among officers (Aveni, 2003). Between 1998 and 2006,


         22
            Christopher M. Donner and Nicole Popovich, “Hitting (or missing) the mark: An
  examination of police shooting accuracy in officer-involved shooting incidents”, in Policing: An
  International Journal, Volume 42, Number 3, 2019, pages 474-489.

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         the average hit rate was 18 percent (Morrison, 2006).”

  White23 concludes similarly that “(r)esearch has consistently shown that although there is
  substantial variation across police departments, hit rates typically dip well below 50%”.
  Simas, et al.24 explicitly identify the negative non-pecuniary externalities that arise when law
  enforcement officers discharge firearms inaccurately: “Considering the importance of firearm
  proficiency and accuracy, the poor marksmanship of police officers has led to officers missing
  their target when engaging an armed suspect ... and has led to bystander fatalities”.25

  Inaccurate discharges are presumably more common among individuals who do not have law
  enforcement training. Therefore, firearm usage among civilians presents a heightened risk of
  the negative non-pecuniary externalities associated with inaccurate discharge.

  As an example, the response to Interrogatories in Cooke, et al. v. Hickenlooper from the
  Hinsdale County Sheriff reported a single incident, in November 1994, in which an armed
  citizen was recruited for assistance in a dangerous traffic stop. In that incident, the citizen
  discharged 17 rounds from a Beretta Model 92 9mm pistol.26

  According to the report, one of the 17 rounds struck a tire of the vehicle in question, disabling
  it. The other 16 rounds failed to hit the intended target. By definition, they each hit an
  unintended target. Some, if not many, of these unintended targets presumably suffered
  damage. These damages constitute non-pecuniary externality. They are therefore economic
  inefficiencies, whether or not these unintended targets were human.

  The purpose of LCMs must be to increase the number of discharges. Unless an individual
  achieves perfect accuracy, increases in the number of discharges imply increases in the number
  of inaccurate discharges. This increases the potential harms to unintended targets.
  Consequently, LCM usage increases the economic inefficiency that arises from imperfect


         23
            Michael D. White, “Hitting the target (or not): Comparing characteristics of fatal,
  injurious, and noninjurious police shootings”, in Police Quarterly, Volume 9, Number 3,
  September, 2006, pages 303-330.
         24
            Vini Simas, Ben Schram, Elisa F.D. Canetti, Danny Maupin and Robin Orr, “Factors
  influencing marksmanship in police officers: A narrative review”, in International Journal of
  Environmental Research and Public Health, Volume 19, 14236, 2022.
         25
            As a recent example, police in Denver wounded six bystanders with firearm fire as
  they sought to subdue a single civilian who was in possession of a firearm
  (https://www.denverpost.com/2022/07/20/bystanders-shot-denver-police-bullet-wounds/).
         26
              The report did not specify whether this firearm was equipped with an LCM.

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  accuracy.


  II.C.   Self-reports of self-defense are unreliable

  Individual assessments of the need for self-defensive actions do not account for the negative
  non-pecuniary externalities that these actions impose. Therefore, they are not reliable
  indicators of the frequency with which such actions are economically efficient. Individuals will
  consistently exaggerate threats to their well-being, compared to the assessments that would be
  consistent with economic efficiency.


  II.C.1 Individual reports of self-defense are unreliable

  Recent experience provides several notorious examples which demonstrate that
  self-declarations of self-defense do not ensure that a valid instance of self-defense has
  occurred. For example, on 26 February 2012 in Florida, George Zimmerman shot and killed
  Trayvon Martin.27 Zimmerman claimed that he was acting in self-defense, and was acquitted.

  If, however, Martin had survived the encounter with Zimmerman, it seems likely that Martin
  might have also had a plausible claim of self-defense as justification for his actions. It is possible
  that neither participant in this incident thought of themselves as an aggressor. Both could have
  understood themselves to be acting in self-defense.

  On 23 February 2020 in Georgia, Travis McMichael fatally shot Ahmaud Arbery. Arbery was
  unarmed and fleeing from McMichael at the time. Nevertheless, when brought to trial for
  murder, McMichael claimed to be acting in self-defense.28

  On 8 October 2022 in Florida, William Hale and Frank Allison became involved in a dispute while
  driving separate vehicles on the same road. In the course of the dispute, an object was thrown
  from Hale’s vehicle at Allison’s vehicle. Allison discharged a firearm once at Hale’s vehicle. Hale
  then discharged the entire magazine of his firearm at the vehicle driven by Hale.


          27
           For a representative description, see
  http://www.nytimes.com/2013/07/14/us/george-zimmerman-verdict-trayvon-martin.html?pag
  ewanted=all&_r=0.
          28
           For a representative description,
  https://web.archive.org/web/20211106085425/https://www.ajc.com/news/atlanta-news/pros
  ecutors-no-evidence-arbery-stole-anything-before-fatal-shooting/QNEPEU76Y5H43AKG3JD2U
  MC5VE/

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  Both Hale and Allison were, presumably, self-identifying as being under threat. Both,
  presumably, thought of themselves as acting in self-defense. Neither was injured in the
  interaction. However, each struck the daughter of the other with a firearm round.29

  In all three of these cases, the discharge of firearms imposed substantial negative non-
  pecuniary externalities. In the examples of Zimmerman and of the Hale and Allison, there was
  no individual who was clearly the aggressor. Those claiming to be acting in self-defense could
  arguably have been guilty of aggression, themselves. In the example of McMichael, a jury made
  the formal determination that McMichael was the aggressor rather than the victim.

  Examples of inappropriate assessments of self-defense occur in Colorado as well. The Response
  of the Sheriff of Weld County to the fifth of Defendant’s Interrogatories in Cooke, et al. v.
  Hickenlooper, discussed in section II.A.2, indicated that some or many reported instances of
  “armed self-defense” by members of the Sheriff’s staff or their families would be more
  accurately characterized as instances of preparing to self-defend in circumstances where actual
  threats did not materialize.30

  One respondent stated that “it is not possible to put a number on how many times I have used
  a firearm in defense of my home, as there is always a firearm accessible in the household.
  There have been numerous occasions that myself and my family members have used a firearm
  to investigate any unexplained noises or anything that alerts our canine companions to a
  presence in or around our home.”

  Neither “unexplained noises” nor “anything that alerts ... canine companions” would
  consistently present threats that require armed responses. Such responses would entail a risk
  that firearms would be discharged in the absence of such threats. These discharges would
  impose non-pecuniary externalities.

  These externalities can be tragic. On 8 September 2013, CNN reported that a young Coloradan
  woman had snuck into her former home to surprise a friend who was taking care of it.31 She
  deliberately made a noise with the intent of alerting her friend to the presence of a concealed

         29
           For a representative description, see
  https://www.ajc.com/news/crime/georgia-florida-men-shoot-each-others-daughters-during-ro
  ad-rage-sheriff-says/VK2WY5EKUFEDDFYWU4BDJVCWQU/.
         30
             This discussion is adapted from the “Supplemental Report of Jeffrey S. Zax”, section
  II.E, “Sheriffs’ Responses to Defendant’s Interrogatories”, submitted in Cooke, et al. v.
  Hickenlooper, U.S. District Court Case No. 13-CV-001300.
         31
           For a representative description, see
  http://www.cnn.com/2013/09/08/justice/colorado-teen-accidental-shooting/.

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  individual. The friend armed himself with a firearm. The woman revealed herself with the intent
  to surprise the friend. The friend responded by shooting her fatally.

  Another incident in Colorado further illustrates the ambiguities associated with self-identified
  instances of self-defense. On 12 August 2013, The Denver Post reported that a man had
  confessed to killing two teenage boys.32 According to the report, the man shot the two after
  they had come to his home, demanded payments of $10,000 to each of them and threatened
  him with a butcher knife. Under these circumstances, the man might be construed to have
  engaged in firearm self-defense.

  However, according to the report, “a friend of the boys told investigators that one of the boys
  had a cellphone video of [the man] asking the boy for sex and then touching him
  inappropriately.” If this was the case, then at an earlier point in the extended interaction, the
  man had been the aggressor and at least one of the boys had been a victim. From that
  perspective, the boys might well have represented their visit to the man's house as an act of
  self-defense.

  In these two Colorado incidents, individuals applying lethal force with firearms may have
  believed themselves to be acting in self-defense. However, in the first incident, there was,
  apparently, no threat and no aggressor at all. In the second incident, the alleged assailants may
  have equally believed that their acts were themselves self-defensive, and provoked by prior
  aggressive acts on the part of the individual who eventually applied lethal force.


  II.C.2 Survey claims regarding the frequency of firearm self-defense are not credible33

  Surveys of firearm self-defense elicit multiple individual reports of firearm self-defense. These
  individual reports of firearm self-defense are not reliable. Therefore, the estimates that these
  surveys yield regarding the frequency of firearm self-defense are not credible.

  Kleck and Gertz (1995)34 is a prominent example. They conducted an original survey of self-

         32
           For a representative description, see
  http://www.denverpost.com/breakingnews/ci_23846157/adams-county-sheriff-investigates-m
  an-who-claims-he?IADID=Search-www.denverpost.com-www.denverpost.com.
         33
           This section is adapted from the “Zax Second Rebuttal”, section II.C, “Problems of
  interpretation”, submitted in Cooke, et al. v. Hickenlooper, U.S. District Court Case No. 13-CV-
  001300.
         34
           Gary Kleck and Marc Gertz (1995) “Armed resistance to crime: The prevalence and
  nature of self-defense with a gun”, The Journal of Criminal Law and Criminology, Vol. 86, No. 1,

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  reported firearm self-defense. They summarize the survey results as indicating that “each year
  in the U.S. there are about 2.2 to 2.5 million DGUs [defensive gun uses] of all types by civilians
  against humans”.

  This estimate is not credible for two reasons. First, Kleck and Gertz define DGUs without regard
  as to whether the reported instances are appropriate. Second, the details of individual reports
  often indicate that the use of firearms for self-defense was disproportionate.

  Kleck and Gertz define a “genuine DGU [defensive gun use]” as follows:

         “(1) the incident involved defensive action against a human rather than an animal, but
         not in connection with police, military, or security guard duties; (2) the incident involved
         actual contact with a person, rather than merely investigating suspicious circumstances,
         etc.; (3) the defender could state a specific crime which he thought was being committed
         at the time of the incident; (4) the gun was actually used in some way ¯ at a minimum it
         had to be used as part of a threat against a person, either by [163] verbally referring to
         the gun (e.g., 'get away ¯ I've got a gun') or by pointing it at an adversary.”

  This definition does not require that the alleged threat was verifiable, that the respondent's role
  in the alleged instance was verifiably defensive, that the armed response was appropriately
  proportionate, or that the respondent’s possession and use of a firearm were legal.
  Consequently, this definition must overstate the extent of threats to which DGUs would have
  been potentially appropriate responses.


                                               Table 10

                                Assailant weapons in purported DGUs

                                                           Number       Percent
                        DGUs in which assailants were:
                        not reported to have a weapon            102      52.0%
                        reported to have a weapon                 56      28.6%
                        other than a firearm
                        reported to have a firearm                38     19.4%
                        Total                                    196    100.0%




  Autumn, 150-187.

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  This is confirmed by examination of other DGU characteristics. Kleck and Gertz identify 196
  survey respondents as engaging in the use of firearms consistent with their definition of DGUs.
  Table 10 reports that, of them, only 94 reported that their alleged assailant carried a weapon. In
  other words, in 52.0% of the purported instances of self-defense, purported victims deployed a
  firearm for the purpose of confronting an unarmed individual.

  Alleged assailants were armed with weapons that were not firearms in 56 of these 94 instances.
  These instances constituted 28.6% of all instances. Purported victims reported that alleged
  assailants were armed with some type of firearm in only 38 of 196 instances, or 19.4%.
  Consequently, purported victims responded to alleged assailants with presumably more lethal
  weaponry in more than 80% of all instances.


                                              Table 11

                              Fears of victimization in reported DGUs

                                                         Number         Percent
                      DGUs in which alleged victims
                      feared victimization in:
                      Unspecified crime                        22        11.2%
                      Nonviolent crime                         68        34.7%
                      Violent crime                           106        54.1%
                      Total                                   196       100.0%


  Despite the frequency with which purported victims were in possession of superior weaponry,
  purported victims reported substantial fears of victimization. Table 11 reports that 54.1%, or
  more than half of purported victims, feared that they would be victims of violent crimes.




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                                            Table 12

                 Assailant weapons and fears of victimization in reported DGUs

                                         Assailants     Assailants          Assailants
                                         not            reported to have    reported
                                         reported to    a weapon other      to have a
                                         have a         than a firearm      firearm
                                         weapon
         DGUs in which alleged victims
         feared victimization in:
         Unspecified crime                     17.7%                3.6%          5.3%
         Nonviolent crime                      46.1%               25.0%         18.4%
         Violent crime                         36.3%               71.4%         76.3%

         Number of instances                     102                   56           38


  Table 12 demonstrates that, among the 102 purported victims armed with firearms who
  encountered unarmed alleged assailants, 36.3% feared that they would be victims of a violent
  crime. Among the 56 purported victims armed with firearms who encountered alleged assailants
  armed with weapons other than firearms, 71.4% feared that they would be victims of a violent
  crime.




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                                              Table 13

               Assailant weapons and fears of lethal victimization in reported DGUS

                                             Assailants       Assailants        Assailants
                                             not              reported to       reported to
                                             reported to      have a weapon     have a
                                             have a           other than a      firearm
                                             weapon           firearm
         Feared likelihood of death in the
         absence of armed self-defense:
         Almost certainly not                       36.5%               9.8%           8.8%
         Probably not                               28.2%              19.6%          14.7%
         Some significant chance                    35.3%              70.6%          76.5%

         Number of instances                             85                51             34

         Note: Twenty-six respondents did not report whether they feared death.


  According to Table 13, 35.3%, or more than one-third, of purported victims feared lethal
  victimization when confronted by an unarmed alleged assailant, even though the purported
  victim possessed a firearm. Among those confronted by alleged assailants with a weapon other
  than a firearm, more than 70% feared lethal victimization, even though they possessed a
  firearm.

  These tabulations demonstrate that, in the majority of purported DGUs, the firearms that were
  in the possession of purported victims were more potent than any weapon possessed by alleged
  assailants. Nevertheless, purported victims expressed substantial fears of victimization, and even
  lethal victimization.

  Moreover, the fear of lethal victimization was similar among purported victims confronting
  alleged armed assailants regardless of whether or not those alleged assailants possessed
  firearms. Those armed without firearms should have been substantially less dangerous than
  were those armed with firearms. The similarity between fears of lethal victimization suggests, at
  least, that those fears associated with alleged assailants armed but not with firearms were
  excessive.

  These comparisons demonstrate that the definition of DGUs employed by Kleck and Gertz
  includes many instances in which the deployment of firearms for the purpose of purported self-
  defense was disproportionate. This is consistent with the discussion in section II.B.1 above. As

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  demonstrated there, individuals, because of their self-interest, will identify needs for self-
  defense in circumstances where self-defense would be socially inefficient.

  Kleck and Gertz, themselves, implicitly impugn the credibility of reported fears regarding lethal
  victimization. They report that

         “If we consider only the 15.7% who believed someone almost certainly would have been
         killed had they not used a gun ... it yields national annual estimates of 340,000 to
         400,000 DGUs [defensive gun uses] of any kind ... where defenders stated, if asked, that
         they believed they almost certainly saved a life by using a gun.”

  In 1995, the population of the United States was approximately 263,034,000 (Statistical Abstract
  of the United States 1996, Section 1, “Population”, table No. 2, “Population”,
  http://www.census.gov/prod/www/statistical_abstract.html). The estimates above therefore
  correspond to risks of confronting an assailant intent on murder that are approximately 130 to
  150 per 100,000 population.

  However, the actual risk of homicide in the United States in 1995 was 8.7 per 100,000
  population (Statistical Abstract of the United States 1998, Section 1, “Population”, table No. 138,
  “Deaths and Death Rates, by Selected Causes: 1990 to 1996",
  http://www.census.gov/prod/www/statistical_abstract.html). Therefore, the implied risk of
  confronting an assailant intent on murder derived from the survey of Kleck and Gertz (1995)
  overstated the actual risk of being murdered by factors approximately of 15 to 20.

  Kleck and Gertz (1995, 176) estimate that 46.1% of their respondents “perceived some
  significant chance of someone being killed”. This is 2.94 times as many as “believed that
  someone almost certainly would have been killed” (Kleck and Gertz, 1995, 177). Accordingly, this
  would imply that approximately 998,000 to 1,175,000 individuals encountered assailants who
  displayed significant intent to murder. These levels correspond to rates of approximately 380 to
  450 per 100,000 populations. These rates overstate the actual risk of homicide by factors of
  approximately 44 to 50.

  At least some assailants with lethal intent will fail to achieve their goals. Therefore, the rates at
  which individuals confront assailants who are intent on murder will exceed the rates at which
  individuals are actual victims of homicide. Nevertheless, the most conservative estimates from
  Kleck and Gertz (1995) of encounters with lethal threats imply that for each homicide, 14 to 19
  authentic homicidal attempts are thwarted. Under their concept of “significant intent”,
  approximately 43 to 49 authentic homicide attempts would have to fail for each actual
  homicide.

  There is no evidence to suggest that authentic homicidal intentions rise to this level, that
  personal self-defense is sufficiently effective or that homicidal incompetence is sufficiently

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  widespread to reconcile these rates. They are simply not credible.

  In sum, the number of purported victims in Kleck and Gertz (1995) who claimed to believe that
  they were faced with lethal threats far exceeds any reasonable estimate of the number who
  actually could have encountered such threats. While their alleged fears may have seemed
  credible, those fears were factually without foundation.

  The frequency of self-defensive firearm use claimed by the respondents to the survey of Kleck
  and Gertz is also inconsistent with frequencies as recorded by third parties. Planty and Truman35
  (2013) demonstrate that the use of a gun in any form of self-defense is rare. They estimate that
  approximately 29,618,300 violent crimes occurred in the United States during the period
  2007-2011, or approximately 5,923,650 per year. These counts corresponded to rates of slightly
  less than two incidents per 100 population per year.

  During this period, victims threatened or attacked perpetrators with firearms in .8% of all
  reported violent crimes. This corresponds to a rate of approximately 16 people per 100,000
  employing a firearm to threaten or attack a violent crime perpetrator per year.

  Planty and Truman (2013) estimate that approximately 84,495,500 property crimes occurred in
  the United States during the period 2007-2011, or approximately 16,899,100 per year. These
  counts corresponded to rates of approximately 5.5 incidents per 100 population per year.

  Victims threatened or attacked perpetrators of property crimes with firearms in only .1% of all
  reported incidents. This corresponds to a rate of approximately six people per 100,000
  employing a firearm to threaten or attack a property crimes perpetrator per year.

  In sum, the frequency of verifiable instances in which purported victims responded to alleged
  assailants with firearms was much lower than that implied by the survey results of Kleck and
  Gertz. This demonstrates that the frequency with which firearms are employed in self-defense
  cannot be reliably estimated from surveys that allow respondents to self-identify such usage.

  The credibility of self-reports of self-defensive firearm use in the more recent survey of English
  (2022)36 is similarly suspect, if not moreso. English identifies self-defensive firearm use as
  affirmative answers to the following question: “Have you ever defended yourself or your




         35
            Michael Planty and Jennifer L. Truman, Firearm Violence, 1993-2011, U.S. Department
  of Justice, Office of Justice Programs, Washington, D.C., 2013.
         36
           William English, “2021 National Firearms Survey: Updated analysis including types of
  firearms owned”, 13 May 2022.

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  property with a firearm, even if it was not fired or displayed? Please do not include military
  service, police work, or work as a security guard.”

  In comparison to the survey of Kleck and Gertz, the implicit definition of self-reported self-
  defensive firearm employed by English does not explicitly require suspicion of a crime, does not
  require actual contact with another person and does not exclude encounters with animals.37
  English makes no attempt to evaluate whether reported self-defensive firearm use was
  appropriate or proportionate.


  II.D.   Self-reported self-defense is economically inefficient38

  The economic logic of Section II.C.1 demonstrates that individuals are likely to overstate their
  personal need for self-defense, relative to the efficient level. Section II.C.2 demonstrates that
  these overstatements occur in surveys that invite individuals to self-report defensive gun use.

  Consequently, self-defensive actions that purported victims undertake are likely to be
  disproportionate to the threats that they actually encounter. This inefficiency would diminish
  rather than increase the overall level of public safety. This would be an especially significant risk
  if those actions entail the deployment of lethal force in the form of firearms.


  II.D.1 Many self-reported acts of firearm self-defense are disproportionate

  The individuals who are identified by Kleck and Gertz as having engaged in an authentic DGU
  described their responses to the threats that they perceived. These descriptions suggest that at
  least some of the responses were disproportionate.




          37
          These encounters occur with unknown frequency. English (2022, 32) several
  anecdotes of alleged self-defense against animals. Footnote 17 references others.
          38
           This section is adapted from the “Zax Second Rebuttal”, section II.C, “Problems of
  interpretation”, submitted in Cooke, et al. v. Hickenlooper, U.S. District Court Case No. 13-CV-
  001300.

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                                             Table 14

                 Assailant weapons and respondent firearm use in reported DGUs

                                      Assailants        Assailants         Assailants
                                      not               reported to        reported
                                      reported to       have a weapon      to have a
                                      have a            other than a       firearm
                                      weapon            firearm
                Respondent did               82.4%                 73.2%      50.0%
                not discharge
                firearm
                Respondent                   17.7%                26.8%       50.0%
                discharged firearm

                Number of                      102                   56           38
                instances


  Table 14 reports that purported victims discharged firearms in 17.7% of incidents in which
  alleged assailants were unarmed. They discharged firearms in 26.8% of incidents in which
  alleged assailants bore weapons other than firearms. While some assailants in either category
  may well have been dangerous, the superior force capability of firearms suggests that the need
  for actual discharges should have been rare.




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                                               Table 15

                 Assailant weapons and respondent firearm use in reported DGUs

                                                 Feared likelihood of death in
                                              the absence of armed self-defense:
                                      Almost          Probably      Some significant
                                      certainly not   not           chance
            Respondent did not                74.4%        94.9%                  63.0%
            discharge firearm
            Respondent                        25.6%           5.1%                   37.0%
            discharged firearm

            Number of instances                   39            39                       92


  Table 15 reports that respondents discharged firearms in 25.6% of instances in which they
  believed that they were almost certainly not at risk of death. This is only one-third less than the
  rate at which respondents discharged firearms in instances in which they believed that they
  faced some significant chance of victimization with lethal force. This suggests that the rate of
  discharge when faced with little risk of death was disproportionate.

  The conclusions in Kleck and Gertz also imply that defensive use of firearms is disproportionate.
  They summarize their results as demonstrating that “(t)he best estimates of DGUs ... even if
  compared to the more generous estimates of gun crimes, are 4.6 times higher than the crime
  counts for all guns, and 4.2 times higher for handguns ... In sum, DGUs are about three to five
  times as common as criminal uses, even using generous estimates of gun crimes.”

  If self-defensive firearm use were three times as frequent as criminal firearm use, and every
  instance of criminal firearm use was met with self-defensive firearm use, then one-third of self-
  defensive firearm use would be directed at alleged assailants who, themselves, deployed
  firearms. This implies that two-thirds of self-defensive firearm use would be directed at alleged
  assailants who did not, themselves, deploy firearms. This ratio would be greater if some
  instances of criminal firearm use did not elicit self-defensive firearm responses.

  If self-defensive firearm use were five times as frequent as criminal firearm use, and every
  instance of criminal firearm use was met with self-defensive firearm use, then at least four-fifths
  of self-defensive firearm use would be directed at alleged assailants who did not, themselves,
  deploy firearms.



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  Therefore, the calculations of Kleck and Gertz imply that at least 67%, and possibly more than
  80%, of instances of purported self-defensive firearm use are directed at alleged assailants who
  do not possess firearms. The purported self-defensive actions in many of these instances are
  likely to be disproportionate.


  II.D.2 Some self-reported acts of firearm self-defense may be illegal

  The legal status of self-reported self-defensive actions is uncertain, even in contexts where the
  individual engaging in them has a credible claim to victimization. Colorado law, embodied in
  Colo. Rev. Stat. § 18-1-704, establishes that

          “(1) Except as provided in subsections (2) and (3) of this section, a person is justified in
          using physical force upon another person in order to defend himself or a third person
          from what he reasonably believes to be the use or imminent use of unlawful physical
          force by that other person, and he may use a degree of force which he reasonably
          believes to be necessary for that purpose.”

  This definition of “justified ... physical force” differs substantially from the definition of “a
  genuine DGU” employed by Kleck and Gertz and quoted in section II.C.2 above.

  In particular, Kleck and Gertz require only that “the defender could state a specific crime which
  he thought was being committed at the time of the incident”. This appears to admit a much
  broader range of circumstances than would be consistent with a “reasonable belief” of “the use
  or imminent use of unlawful physical force by that other person.”

  Table 10 reports that, in the majority of cases reported by Kleck and Gertz, the alleged assailant
  was apparently unarmed. In these circumstances, it may have been questionable whether the
  belief of impending “unlawful physical force” was reasonable.

  Moreover, in Colorado

          “(2) Deadly physical force may be used only if a person reasonably believes a lesser
          degree of force is inadequate and: (a) The actor has reasonable ground to believe, and
          does believe, that he or another person is in imminent danger of being killed or of
          receiving great bodily injury; or (b) The other person is using or reasonably appears about
          to use physical force against an occupant of a dwelling or business establishment while
          committing or attempting to commit burglary as defined in sections 18-4-202 to
          18-4-204; or (c) The other person is committing or reasonably appears about to commit
          kidnapping as defined in section 18-3-301 or 18-3-302, robbery as defined in section
          18-4-301 or 18-4-302, sexual assault as set forth in section 18-3-402, or in section


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             18-3-403 as it existed prior to July 1, 2000, or assault as defined in sections 18-3-202 and
             18-3-203.”

  Firearms are capable of exerting “deadly physical force”. Therefore, their deployment in alleged
  acts of self-defense could legally be subject to this higher standard. The definition of “a genuine
  DGU” employed by Kleck and Gertz does not limit self-defensive firearm use to the
  circumstances defined in this section of Colorado statute.

  To the contrary, as reported in Table 11, 34.7% of those self-reporting self-defensive firearm use
  to Kleck and Gertz feared only “nonviolent crime”. Another 11.2% feared “unspecified crime”. In
  these instances, at least, firearm use might not have been compliant with Colorado statute.

  Finally,

             “(3) Notwithstanding the provisions of subsection (1) of this section, a person is not
             justified in using physical force if: (a) With intent to cause bodily injury or death to
             another person, he provokes the use of unlawful physical force by that other person; or
             (b) He or she is the initial aggressor; except that his or her use of physical force upon
             another person under the circumstances is justifiable if he or she withdraws from the
             encounter and effectively communicates to the other person his or her intent to do so,
             but the latter nevertheless continues or threatens the use of unlawful physical force”.

  Kleck and Gertz did not interrogate their survey respondents with regard to the possibility that
  those self-reporting self-defensive firearm use had been the original aggressor or had provoked
  “the use of unlawful physical force” by the purported assailant. Consequently, it is not possible
  to evaluate the extent to these self-reports of self-defensive firearm use might have been in
  violation of these provisions. As will be discussed in section III.D.3, that possibility cannot be
  disregarded.

  The implicit definition of self-defensive firearm use in English (2022, 11) is even less respectful of
  the legal requirements to justify the application of force in self-defense. His definition includes
  the deployment of firearms to defend property.




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  Threats to property are much more common than threats to person.39 Therefore, this question
  invites a much larger volume of affirmative answers. However, Colorado statute does not appear
  to recognize a right to employ physical force for the purpose of protecting property.
  Consequently, many of the self-reported instances of self-defensive firearm use enumerated by
  English might have questionably legal protection in Colorado.

  Kleck and Gertz (1995, 155), themselves, are dubious about the legality of the DGUs that they
  report. They explain that “As with other forms of forceful resistance, the defensive act itself,
  regardless of the characteristics of any weapon used, might constitute an unlawful assault or at
  least the [respondent] might believe that others, including either legal authorities or the
  researchers, could regard it that way.” Kleck and Gertz (1995) did not attempt to assess the
  legality of the defensive acts reported by their respondents.

  The legality of self-defensive acts involving firearms is even more limited: “Resistance with a gun
  also involves additional elements of sensitivity. Because guns are legally regulated, a victim's
  possession of the weapon, either in general or at the time of the DGU, might itself be unlawful”
  (Kleck and Gertz, 1995, 155). Possession may be problematic “because the [respondent] had not
  complied with or could not be sure he had complied with all legal requirements concerning
  registration of the gun's acquisition or possession, permits for purchase, licensing of home
  possession, storage requirements, and so on.” (Kleck and Gertz, 1995, 156).

  The survey of Kleck and Gertz (1995) did not inquire regarding these aspects of gun ownership.
  Consequently, it was not possible to assess whether respondents were legally entitled to possess
  the firearms which they employed in alleged instances of firearm self-defense.

  Moreover, even if ownership of the firearms employed in alleged instances of firearm self-
  defense was legal, and the individuals claiming to have engaged in firearm self-defense were
  legally entitled to access those firearms at the moment of the alleged instance of firearm self-
  defense, the possibility remains that these individuals were not legally entitled to deploy those
  firearms in the location where the alleged instance of firearm self-defense occurred. According
  to Kleck and Gertz (1995, 156): “For all but a handful of gun owners with a permit to carry a
  weapon in public places ... the mere possession of a gun in a place other than their home, place


         39
            In 2021, Colorado experienced 122,250 cases of larceny, 23,404 cases of burglary,
  43,295 cases of fraud, and 42,269 cases of motor vehicle threat, for a total of 231,218 crimes
  against property. In contrast, Colorado experiences 31,053 cases of violent crime. In other
  words, property crimes were more than seven times as numerous as violent crimes. In addition,
  Colorado experienced 4,341 cases of robbery, which could be both crimes of violence and
  crimes against property
  (https://coloradocrimestats.state.co.us/tops/report/property-crimes/colorado/2021).


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  of business, or in some states, their vehicle, is a crime, often a felony. In at least ten states, it is
  punishable by a punitively mandatory minimum prison sentence.”


                                                  Table 16

                          Locations of firearm self-defense in reported DGUs

                                                              Number       Percent
                          DGUs which took place:
                          In respondents' home                      65       33.2%
                          Near respondents' home                    73       37.2%
                          In friend's home                           7        3.6%
                          In a business                             16        8.2%
                          In a parking lot                           7        3.6%
                          In a school                                1        0.5%
                          In a public space                         13        6.6%
                          In some other place                        5        2.6%
                          No response                                9        4.6%
                          Total                                    196      100.0%


  Table 16 identifies the the location in which the alleged instance of firearm self-defense
  reported to Kleck and Gertz took place. Only one-third of these instances occurred within
  respondents’ homes, where their rights to employ firearms were presumably least restricted.
  Another 8.2% took place “(i)n a business”, though not necessarily in the respondent’s place of
  business.

  The remaining 58.6% of instances took place in locations where usage of a firearm might have
  been illegal and perhaps even a felony. For example, 13 of the 196 instances occurred in “a
  public space”, seven in a “parking lot” and one “in a school”.

  Alleged victims have personal incentives and civic responsibilities to report crimes and
  attempted crimes to public safety authorities. Personally, they may seek justice for the crimes or
  criminal attempts to which they have been subject, and protection from the possibility of further
  threats. As a matter of civic responsibility, reports may be important to assist police in
  anticipating subsequent criminal threats to others in the community, and to identify repeat
  offenders.



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  At the same time, the incentive to report is diminished, perhaps dramatically, if the defensive
  actions of alleged victims are themselves of uncertain legality. In this circumstance, reports to
  the police create the risk that the alleged victims will themselves become vulnerable to legal
  penalties.


                                               Table 17

                       Police notification DGUs involving firearm self-defense

                                                           Number      Percent
                        Were the police informed or
                        did they find out about this
                        incident in any way?"
                        Yes                                     116     59.2%
                        No                                       67     34.2%
                        Unknown                                   5      2.6%
                        No answer                                 8      4.1%
                        Total                                   196    100.0%

  Table 17 reports that, In 40.8% of the DGUs identified by Kleck and Gertz, respondents neither
  informed police nor believed that police had learned of their instance in any other way. In the
  remaining incidents, respondents believed that police were aware of the instance but may not
  have informed the police themselves. Consequently, at least 40% of respondents, and perhaps
  many more failed to notify the police of the incident in which they claimed self-defense, much
  less their resort to a firearm in that incident. This suggests that many respondents considered
  their responses to be of dubious legality.

  In sum, the alleged instances of firearm self-defense reported in Kleck and Gertz (1995) may
  have themselves been illegal. They may have violated legal standards for the application of
  force, legal standards for gun ownership and possession, or legal standards regarding the
  carrying of firearms.

  Kleck and Gertz make no attempt to ascertain whether the DGUs that they identify involved
  illegal behavior on the part of the alleged victim.40 However, their discussion of self-defense
  reports in the National Crime Victimization Survey [NCVS] implies that illegal behavior
  characterizes most of their alleged DGUs.


         40
           Kleck and Gertz state (1995, 163) that they “made no effort to assess either the
  lawfulness or morality of the Rs’ [respondents’] defensive actions.”

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  The NCVS is conducted by the Bureau of Justice Statistics, Office of Justice Programs, U. S.
  Department of Justice. It is an ongoing longitudinal survey which, according to the Bureau of
  Justice Statistics, serves as “the nation’s primary source of information on criminal
  victimization.” (http://www.bjs.gov/index.cfm?ty=dcdetail&iid=245).

  Kleck and Gertz (1995, 153) assert that “(d)ata from the NCVS imply that each year there are
  only about 68,000 defensive uses of guns in connection with assaults and robberies, or about
  80,000 to 82,000 if one adds in uses linked with household burglaries. These figures are less than
  one ninth of the estimates implied by the results of at least thirteen other surveys”. Eleven of
  these surveys yield results that, according to Kleck and Gertz (1995, 157-159) can be
  standardized and compared. Their assessment (1995, 159) is that “(a)ll of the eleven surveys
  yielded results that implied over 700,000 uses per year.”

  Kleck and Gertz (1995, 155) explain the discrepancy between the numbers of defensive gun uses
  recorded by the NCVS and those recorded by the other surveys as driven by differential
  willingness to disclose. In regard to the NCVS, “it is made very clear to [respondents] that they
  are, in effect, speaking to a law enforcement arm of the federal government, whose employees
  know exactly who the [respondents] and their family members are, where they live, and how
  they can be recontacted.”

  This may deter respondents from full and open disclosure because “(e)ven under the best of
  circumstances, reporting the use of a gun for self-protection would be an extremely sensitive
  and legally controversial matter” (Kleck and Gertz, 1995, 155). In fact, “In the context of a
  nonanonymous survey conducted by the federal government, an R [respondent] who reports a
  DGU may believe that he is placing himself in serious legal jeopardy” (Kleck and Gertz, 1995,
  155-6).41

  According to Kleck and Gertz (1995, 155), this jeopardy is easy to avoid. The respondent can
  simply decline to disclose: “Rs in the NCVS are not even asked the general self-protection
  question unless they already independently indicated that they had been a victim of a crime.
  This means that any DGUs associated with crimes the [respondents] did not want to talk about
  would remain hidden.” Therefore, “(i)n light of all these considerations, it may be unrealistic to
  assume that more than a fraction of Rs who have used a gun defensively would be willing to
  report it to NCVS interviewers” (Kleck and Gertz, 1995, 156).



         41
           The claim that the NCVS is “nonanonymous” is incorrect. For example, the NCVS 2001
  survey instrument states that “We are conducting this survey under the Authority of Title 13,
  United States Code, Section 8. Section 9 of this law requires us to keep all information about
  you and your household strictly confidential. We may use this information only for statistical
  purposes.” [emphasis in original].

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  In sum, Kleck and Gertz (1995) conclude that the NCVS drastically undercounts defensive gun
  uses because its respondents engage in strategic concealment. They conceal because they are
  concerned that their own actions may be of dubious legality. They fear that full disclosure may
  expose them to legal risks despite the explicit NCVS guarantee of confidentiality.

  Kleck and Gertz (1995) believe that respondents to the 11 surveys that they summarize in their
  table 1 were more willing to discuss instances in which their own behavior may have been
  illegal. Presumably, they have the same belief about their own survey: “It was carefully designed
  to correct all of the known correctable or avoidable flaws of previous surveys which critics have
  identified.” (Kleck and Gertz, 1995, 160). This implies that the excess of alleged instances of
  firearm self-defense in any of these surveys, in comparison to the NCVS, consists of instances
  where the respondents’ own actions were so suspect that they would not have reported them
  to the NCVS, despite the NCVS’s guarantee of confidentiality.


                                              Table 18

       Estimated frequencies of alleged instances of firearm self-defense of dubious legality

                                          Alleged        Excess       Proportion
                                          instances      over NCVS    of alleged
                                          of firearm                  instances
                                          self-                       that are of
                                          defense                     dubious
                                                                      legality
                  Survey:
                  NCVS                        70,000             0            0.0%
                  Mininum in 11 other        700,000       630,000           90.0%
                  studies, summarized
                  in Kleck and Gertz
                  (1995, table 1)
                  Kleck and Gertz          2,500,000      2,430,000          97.2%
                  (1995. table 2)

         Note: Values in the first column are convenient approximations, based on the
               underlying estimates reported by Kleck and Gertz (1995).


  Table 18 illustrates these comparisons. The NCVS reported approximately 70,000 alleged
  instances of firearm during the period addressed by Kleck and Gertz. The minimum number of



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  alleged instances of firearm self-defense reported by the 11 surveys summarized by Kleck and
  Gertz (1995, table 1), is approximately 700,000.

  Therefore, according to the argument in Kleck and Gertz, at least 630,000 of the alleged
  instances reported in these surveys were of sufficiently dubious legality that they would not
  have been reported to the NCVS. These represent at least 90.0% of the alleged instances
  reported to these surveys.

  Kleck and Gertz (1995, table 2), report as many as approximately 2,500,000 alleged instances of
  firearm self-defense. This implies that approximately 2,430,000 instances were of sufficiently
  dubious legality that they would not have been reported to the NCVS. These represent
  approximately 97.2% of the alleged instances reported to these surveys. Kleck and Gertz concur:
  “that virtually none of the victims who use guns defensively tell interviewers about it in the
  NCVS. Our estimates imply that only 3% of DGUs among NCVS Rs are reported to interviewers.”

  Moreover, Kleck and Gertz (1995) suspect that even among those alleged instances of firearm
  self-defense that are reported to the NCVS, a large proportion may themselves be illegal. They
  observe that “88% of the violent crimes which [respondents] reported to NCVS interviewers in
  1992 were committed away from the victim's home, i.e., in a location where it would ordinarily
  be a crime for the victim to even possess a gun, never mind use it defensively.” (Kleck and Gertz,
  1995, 156). For this reason, they conclude that respondents “usually could not mention their
  defensive use of a gun without, in effect, confessing to a crime to a federal government
  employee.” (Kleck and Gertz,1995, 156).




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                                              Table 19

                Estimated frequencies of alleged instances of firearm self-defense
                 of dubious legality if half of NCVS reports are of dubious legality

                                          Alleged        Alleged       Proportion
                                          instances      instances     of alleged
                                          of firearm     that are of   instances
                                          self-          dubious       that are of
                                          defense        legality      dubious
                                                                       legality
                  Survey:
                  NCVS                        70,000         35,000          50.0%
                  Mininum in 11 other        700,000        665,000          95.0%
                  studies, summarized
                  in Kleck and Gertz
                  (1995, table 1)
                  Kleck and Gertz          2,500,000      2,465,000          98.6%
                  (1995. table 2)

         Note: Values in the first column are convenient approximations, based on the
               underlying estimates reported by Kleck and Gertz (1995).

  Table 19 illustrates the possible implications. It assumes, as an example, that only 50% of the
  alleged instances reported to the NCVS were of dubious legality. This implies that an additional
  35,000 of the alleged instances reported to the other surveys, including that of Kleck and Gertz
  (1995), were of dubious legality. The consequence is that, if the true number of alleged
  instances were 700,000, 95.0% would be of dubious legality. If, instead, it were Kleck and Gertz’
  (1995) estimate of 2,500,000, 98.6% would be of dubious legality.

  Kleck and Gertz (1995, 169) assert that “(t)he estimates in table 2 are at best only rough
  approximations, which are probably too low.” If so, then the alleged instances of firearm self-
  defense that were concealed from their survey were presumably those whose legality was most
  suspect. If they were also reported, the proportion of instances in which purported victims
  committed criminal acts would be even higher. Kleck and Gertz (1995, 173) acknowledge this
  bias: “our DGUs would look more consistently ‘legitimate’ than the entire set of all DGUs actually
  are”.

  Similarly, if a greater proportion of the alleged instances reported to the NCVS were themselves
  of dubious legality, the proportions of instances reported to the other surveys that were of
  dubious legality would increase. At the extreme, if all of the 88% of NCVS instances that,

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  according to Kleck and Gertz (1995, 156), took place away from the respondents home were of
  dubious legality, the proportions of instances that were of dubious legality in all of the other
  surveys would be 99% or above.

  In sum, the estimate of approximately 2.5 million annual alleged instances of firearm self-
  defense (Kleck and Gertz, table 2) implies that 1.3% of all adults participated in an alleged
  instance. Kleck and Gertz (1995) estimated that at least 97% of all alleged instances of firearm
  self-defense entailed acts whose legality was sufficiently questionable that the individuals
  performing those acts refused to disclose them to an explicitly confidential government survey.
  Therefore, while 1.3% of all adults may have defended themselves with firearms in the course of
  a year, fewer than .04%, and perhaps not many more than .01%, could have been comfortable
  that they themselves had not committed a criminal act.


  II.D.3 Self-reported victims in acts of firearm self-defense may also be aggressors

  Those who report victimization in alleged instances of firearm self-defense may also be
  aggressors in other instances. Jennings, Piquero and Reingle42 review the scholarly literature that
  investigates the relationship between victimization and offending. They (22) identify “a
  consistent relationship between victimization and offending and between victims and
  offenders”. Offenders in an earlier incident are more likely to be victims in a subsequent
  incident. Victims in an earlier incident are more likely to be offenders in a subsequent incident
  than would be individuals who have not previously been involved in an incident in either role.

  Jennings, Piquero and Reingle also assert that “(t)he recognition that there is a consistent
  relationship between victimization and offending ... is not a recent phenomenon, as research
  identifying the existence of a high-risk group that experiences both victimization and offending
  dates back to the middle of the 20th century.” They cite Patterns in Criminal Homicide, by M. E.
  Wolfgang (University of Pennsylvania Press, 1958) as an early contribution.43




         42
            Wesley G. Jennings, Alex R. Piquero and Jennifer M. Reingle, “On the overlap between
  victimization and offending: A review of the literature”, in Aggression and Violent Behavior,
  Volume 17, 2012, pages 16-26.
         43
            A precursor, of historical if not of contemporary scholarly interest, is Hans von Hentig
  (1940). “Remarks on the interaction of perpetrator and victim”, in The Journal of Criminal Law
  and Criminology, Volume 31, Number 3, September-October, 1940, pages 303-309. He
  speculates (309): “Are we permitted to say that in some cases criminality is a self-consuming
  process of antisocial elements in which criminals prey on criminaloids”?

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  Entorf44 (2013, 3) presents an evaluation of the literature regarding the interactions between
  offending and victimization that is in agreement with that of Jennings, Piquero and Reingle
  (2012). In particular, he concludes that “(o)ffenders are more likely than non-offenders to be
  victims”.

  Entorf’s own analysis (2013, 21) suggests that “we can conclude that there is a recursive system
  of victimization and offending equations, with victimization depending on offending but not vice
  versa.” English (2022, 11) acknowledges that “a majority of gun owners who have used a firearm
  to defend themselves have done so on more than one occasion.”45 According to Entorf, these
  respondents may have been aggressive participants in this recursive system on occasions not
  interrogated by English..

  Finally, Entorf (2013, 21) concludes that “(f)irst and foremost, offending turns out as one of the
  most important covariates of victimization.” In other words, there is a substantial likelihood that
  individuals reporting themselves to have been victims in a threatening or violent incident would
  have previously been involved in other incidents in which they were aggressors.


  II.E   Summary

  This section demonstrates that home invasions in the State of Colorado are rare. Home invasions
  by armed perpetrators are rarer still. Victims of home invasions rarely defend themselves with
  firearms. When LCM ownership was unrestricted, these accessories were hardly ever deployed
  in home self-defense. There is no evidence to suggest that LCMs have had any practical role in
  self-defense in this State.

  Moreover, self-defense cannot be endorsed unconditionally. The individual impulse to self-
  defend imposes non-negative pecuniary externalities on the rest of society. It puts the targets of
  self-defense at the mercy of self-interested assessments of risk. It puts others at the mercy of
  inaccurate discharges. In the absence of regulation, these externalities will constitute a
  substantial economic inefficiency.




         44
           Horst Entorf, Criminal Victims, Victimized Criminals, or Both? A Deeper Look at the
  Victim-Offender Overlap, IZA Working Paper No. 7686, October, 2013.
         45
            The evidence is Kleck and Gertz (1995, 166) is also consistent with the victimization
  phase of this recursive system: “our evidence indicates that repeat experiences were not
  uncommon, with 29.5% of DGU-involved households reporting more than one DGU within the
  previous five years.” Kleck and Gertz also do not interrogate their respondents as to their
  participation in the aggressor phase of this system

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  Furthermore, individual self-interest will amplify perceptions of risk. It will also encourage the
  representation of aggression as self-defense. Consequently, self-reports will exaggerate the
  number of situations that require self-defensive responses.

  Surveys that attempt to count instances of self-defense are contaminated by these distortions.
  At least some self-reported instances of self-defense will be disproportionate to the risk
  encountered. Many, if not most, self-reported instances of firearm self-defense will be,
  themselves, illegal acts. At least some of the alleged victims will, themselves, have criminal
  records.

  Consequently, counts of self-reported instances of firearm self-defense will overstate the
  numbers of instances of self-defense that are legitimate contributions to the well-being of
  society. Those instances that do not should be discouraged, rather than encouraged, by
  regulation if society is to attain an efficient level of self-defense.


  III.     LCMS AND PUBLIC SAFETY

  Private ownership of LCMs makes no contribution to public safety in Colorado. Law enforcement
  officers can legally possess LCMs. However, law enforcement officers rarely use these
  accessories. Sheriffs in Colorado rarely require the assistance of civilians. Citizens who provide
  such assistance never need LCMs.

  There is no evidence to support the assertion that LCMs enable more effective self-defense.
  However, LCMs enhance the capacity for assault. Consequently, increased availability of LCMs is
  likely to impair public safety.


  III.A.   C.R.S. § 18-12-302 allows public safety officers to possess LCMs

  C.R.S. § 18-12-302 declares that “except as otherwise provided in this section, on and after July
  1, 2013, a person who sells, transfers, or possesses a large-capacity magazine commits a class 2
  misdemeanor.” Among the exceptions are “an employee of any of the following agencies who
  bears a firearm in the course of his or her official duties: (I) a branch of the armed forces of the
  United States; of (II) a Department, Agency, or political subdivision of the State of Colorado, or of
  any other State, or of the United States government”.

  This bill restricts the rights of civilians to own LCMs. However, it explicitly preserves the rights of
  law enforcement personnel to possess LCMs.

  Consequently, this bill unambiguously provides law enforcement officers with an advantage in
  firearm firepower. They may continue to use high-capacity magazines, but private citizens with

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  whom they might have an adversarial interaction will be less likely to possess them. This
  advantage unambiguously increases public safety.


  III.B.   Law enforcement officers rarely require LCMs46

  At the same time, available evidence indicates that law enforcement officials almost never
  require large-capacity magazines. For example, in 2011 the New York City Police Department
  employed 33,497 officers for the purposes of ensuring the safety of 8,244,910 residents. During
  that year, members of the Department discharged firearms in only 36 incidents.47

  In other words, approximately one in one thousand New York City Police officers was involved in
  an incident of firearm discharge in 2011. These incidents occurred at a rate of slightly more than
  four per million population served.

  Moreover, in 32 of these incidents police fired fewer than 16 rounds. Three officers, or
  approximately one in ten thousand officers, had the experience of firing 16 rounds. No officer
  fired more than 16 rounds.

  The experience of New York City police in 2011 was typical. In 2010, officers of the New York City
  Police Department were involved in 33 incidents of gun fire. Discharges exceeded 15 rounds in
  only four of those incidents. As in 2011, only three officers fired 16 rounds and no officer fired
  more.48

  Similarly, in 2009, officers of the New York City Police Department were involved in 47 incidents
  of gun fire. Discharges exceeded 15 in only two of those incidents. Only one officer fired eight
  rounds, and no officer fired more.49

  Documented experiences in other jurisdictions are consistent with those of the New York City
  Police. In 2012, policemen in Milwaukee were involved in only nine incidents requiring the



           46
           This section is adapted from “Expert Report of Jeffrey Zax, Ph.D.” and “Supplemental
  Report of Jeffrey S. Zax”, submitted in Cooke, et al. v. Hickenlooper, U.S. District Court Case No.
  13-CV-001300
           47
           All statistics in this paragraph and the next three paragraphs are from New York City
  Police Department, Annual Firearms Discharge Report 2011, 2012.
           48
                New York City Police Department, Annual Firearms Discharge Report 2010, 2011.
           49
                New York City Police Department, Annual Firearms Discharge Report 2009, 2010.

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  discharge of firearms. They fired 33 rounds in total. Only two policemen fired more than six
  rounds.50

  In 2010, officers of the Los Angeles Police Department were involved in only 40 “incidents of
  deliberate discharge against a human offender.” The average annual number of such incidents
  in 2007-2009 was 43.51 Police in San Diego engaged in 25 such incidents during the period of
  2003-2005.52 Police in Albuquerque engaged in 37 such incidents during the period 2006-2010.53

  In sum, officers of the New York City Police Department would have exhausted the capacity of
  Colorado-compliant magazines in only six instances over three years. Officers in Milwaukee may
  not have reached that limit at all in 2012.

  The numbers of incidents in which police deliberately discharged their firearms were
  commensurate in Los Angeles, San Diego and Albuquerque, Even if incidents in these cities
  involved more discharges, the overall frequency with which police would have required the
  capacity of large-capacity magazines would still have been negligible.

  Available evidence regarding firearm discharges by law enforcement officers in Colorado is
  consistent with the experiences in these cities. The second of the Defendant’s Interrogatories in
  Cooke, et al. v. Hickenlooper requests details “(w)ith respect to each and every occasion when
  you, your predecessor(s) in office, or a sheriff’s deputy has discharged a firearm in the course of
  duty since January 1, 2004 (not including firearm practice or training)”. Plaintiff Sheriffs reported
  only 62 such occasions involving people, across 54 counties and nearly 10 years.54




         50
          These statistics are from Milwaukee Fire and Police Commission, 2012 Report on
  Milwaukee Police Department Firearms Discharges, 29 April 2013. This source does not report
  the maximum number of discharges.
         51
              Los Angeles Police Department, 2010 Use of Force Annual Report, undated.
         52
           OIR Group, Use of Force Audit of the San Diego County Sheriff’s Department:
  Executive Summary, 25 June 2007.
         53
         Police Executive Research Forum, Review of Use of Force in the Albuquerque Police
  Department, 23 June 2011, Washington, D.C.
         54
           There were, apparently, a greater number of occasions in which Sheriff staff
  discharged firearms in interactions with animals. However, Plaintiff Sheriffs’ responses do not
  provide exact counts. Plaintiff Sheriffs’ responses do not consistently identify the sizes of the
  magazines employed in instances of discharge.

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  These occasions correspond to 1.68 instances per million people per year. The average number
  of occasions in which an official of the Plaintiff Sheriffs’ discharged a firearm was approximately
  as many as the numbers of home invasions in which either perpetrators or victims discharged
  firearms, as reported in Section II.A.


  III.C.   Law enforcement rarely requires assistance from civilians with LCMs55

  Civilians in Colorado can be asked to assist law enforcement officers. The Defendant’s
  Interrogatories in Cooke et al. v. Hickenlooper requested information regarding the character
  and extent of such assistance. The responses from Plaintiff Sheriffs demonstrate that civilians
  offering such assistance would never need LCMs.

  The third of the Defendant’s Interrogatories in Cooke et al. v. Hickenlooper requested that
  Plaintiff Sheriffs “describe every instance since January 1, 1973 in which you or your
  predecessors in office requested the armed assistance of able-bodied adults (‘posse
  comitatus’)”. Forty-one Plaintiff Sheriffs reported no instances of such requests.

  Ten Plaintiff Sheriffs attested to the existence of volunteer “posses”, apparently standing, within
  their jurisdictions. In all ten counties, posse responsibilities appear to have been restricted to
  security at public events, traffic control, search-and-rescue, crowd control and similar activities.

  It was apparently common for posse members to carry firearms. However, there were no
  reported incidents in which members of these posses discharged their firearms. Consequently,
  there were no situations in which posse members required the equivalent of the contents of an
  LCM.

  Three Sheriff Plaintiffs reported single incidents in which armed citizens were recruited for the
  purpose of responding to unlawful and potentially violent activity. The Jackson County Sheriff
  reported a single incident in 2003 or 2004 in which an armed posse was formed in response to
  an instance where an inmate escaped from jail. There is no record of firearm use by this posse.

  The Rio Blanco County Sheriff reported a single incident in September 2003 in which two armed
  citizens were enlisted in a search for two car thieves. Neither citizen discharged any firearms.

  Finally, the Hinsdale County Sheriff reported a single incident, in November 1994, in which an
  armed citizen was recruited for assistance in a dangerous traffic stop. In that incident, described
  in Section II.B.2., the citizen discharged 17 rounds.

           55
           This section is adapted from “Expert Report of Jeffrey Zax, Ph.D.” and “Supplemental
  Report of Jeffrey S. Zax”, submitted in Cooke, et al. v. Hickenlooper, U.S. District Court Case No.
  13-CV-001300

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  In sum, in the 54 reporting counties over a period of 40 years, there was only one confirmed
  instance in which a private citizen discharged a firearm in response to a request for assistance
  from sheriffs’ personnel. In that instance, the citizen discharged two more rounds than would be
  available in a magazine that was compliant with C.R.S. § 18-12-302.

  The fourth of the Defendant’s Interrogatories requested that Plaintiff Sheriffs “describe every
  instance since January 1, 2004 when you or your predecessors appointed deputies who were not
  certified peace officers”. Seventeen Plaintiff Sheriffs reported no such instances. Four Plaintiff
  Sheriffs reported the appointment of non-certified peace officers who were forbidden to carry
  firearms.

  Four Plaintiff Sheriffs reported that they appointed non-certified peace officers but were unclear
  as to whether these individuals carried firearms. Twenty-nine Plaintiff Sheriffs reported the
  appointment of non-certified peace officers who were either allowed or required to carry
  firearms.

  The 54 Responses did not report any instances in which non-certified peace officers discharged
  firearms in the course of their duties. Therefore, there was no indication in these Responses that
  LCMs were necessary or even helpful in the execution of these duties.

  The sixth of the Defendant’s Interrogatories requested that Plaintiff Sheriffs “describe every
  instance since January 1, 2004 in which you or your predecessors in office requested armed
  citizen assistance for emergencies and natural disasters”. None of the Plaintiff Sheriffs reported
  instances of this sort.56

  Several sheriffs reported the use of citizen assistance in emergencies and natural disasters and
  observed that citizens who offered assistance may have been armed. However, in no case did
  sheriffs specifically request or require that assisting citizens be armed. Plaintiff Sheriffs did not
  report any instances in which firearms were displayed, used or discharged. Therefore, there is
  no evidence to suggest that citizen responses to request for assistance during emergencies and
  natural disasters would be impeded by the restrictions on the possession of LCMs.

  The evidence provided by the Plaintiff Sheriffs confirms that civilians in Colorado occasionally
  assist in law enforcement. They occasionally carry firearms when they do so. However, this
  evidence demonstrates that civilians in Colorado never need LCMs in order to provide this
  assistance.




         56
              The Sheriff of Logan County did not respond to this question.

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  III.D.   Civilians do not need LCMs for self-defense

  Law enforcement agents presumably encounter threats to their physical well-being that are
  more intense and frequent than do civilians. Yet the evidence demonstrates that they rarely, if
  ever, require the discharge capacities provided by LCMs. Therefore, civilians should require
  these capacities even less frequently.57

  The meager direct evidence regarding the number of shots fired in self-defense is consistent
  with this inference. The “Armed Citizen” column of the National Rifle Association (NRA) Journal
  reports individual instances of self-defense. Werner58 analyzed all such reports for 1997 through
  2001. In the resulting 482 instances of self-defense, the modal number of shots fired was one.
  The median and average number of shots fired were, respectively, two and 2.2

  Allen59 replicated this analysis for the period 2011-2017, with almost identical results. In the 736
  reported incidents, the average number of shots fired was 2.2. In sum, the typical instance of
  self-defense reported by the NRA involved the discharge of fewer than one-fifth of the rounds
  available in a HB13-1224-compliant magazine.

  Moreover, these reports were neither a population nor a random sample. To the extent that
  they were chosen deliberately, the intent was probably to report the most dramatic incidents.

  This would probably bias the results toward more violent crimes and more extensive efforts at
  self-defense. To the extent that this is the case, the analyses of Werner and Allen overstate the
  number of rounds typically discharged in an incident of self-defense.

  Therefore, the typical number of rounds discharged during an incident of legitimate self-defense
  is likely to be less than the capacity of a firearm that is not equipped with an LCM. It is almost
  surely far less than the capacity of a firearm that is equipped with an LCM.

  What little is known about the pattern of LCM evidence is consistent with the conclusion that
  LCMs are not necessary for self-defense. According to English (2022), LCM ownership is heavily




           57
             This section is adapted from “Expert Report of Jeffrey Zax, Ph.D.”, submitted in Cooke,
  et al. v. Hickenlooper, U.S. District Court Case No. 13-CV-001300
           58
                Claude Werner, “Analysis of five years of armed encounters”, 1 August 2013.
           59
             Allen, Lucy P., Declaration of Lucy P. Allen in Support of Defendants’ Opposition to
  Plaintiffs’ Motion for Preliminary Injunction, C. A. No. 1:22-cv-00951-RGA (Consolidated),
  United States District Court for the District of Delaware.

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  concentrated. Among adults in the United States, 84.4% have never owned an LCM. The few
  who have owned LCMs possess, on average, approximately 10.60

  These tabulations demonstrate that most American adults have never identified a need for an
  LCM, whether self-defense or otherwise. Among the small segment of American adults who
  have acquired LCMs, the numbers of LCMs that they typically possess are far in excess of the
  numbers that would ordinarily be useful in an instance of legitimate firearm-assisted self-
  defense.


  III.E.   Summary

  LCMs are legally available to law enforcement officers in the State of Colorado. Consequently,
  law enforcement officers are able to utilize them in order to maintain public safety.

  However, law enforcement officers rarely discharge weapons. When they do, the number of
  discharges is almost always far fewer than the capacity of an LCM.

  Law enforcement in Colorado only occasionally requires the assistance of civilians. When it does,
  those civilians are often unarmed.

  There is no indication that civilians who are assisting law enforcement have ever been required
  to equip themselves with LCMs. In those instances where these civilians have been armed, they
  have almost never discharged their weapons. There is only one recorded instance in which a
  civilian assisting law enforcement discharged more than 15 rounds.

  Civilian firearm discharges in reported instances self-defense almost never require more than a
  few rounds. Almost all reported acts of self-defense could be accomplished without the
  discharge capacity of LCMs.

  In sum, civilians do not need LCMs in order to assist law enforcement officers for the purpose of
  maintaining either public safety or private safety. However, civilian access to LCMs is associated
  with substantial threats to both.


  IV.      THE COST OF LCM VIOLENCE IS HIGH

  The economic costs of firearm violence in the United States are substantial. Some of these costs
  are direct. They begin with the medical costs associated with immediate treatments for those

           60
          This average excludes the holdings of .2% of adults, who report the ownership of
  more than 100 LCMs (English, 2022, 23).

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  suffering injuries from firearm discharges. They continue with the costs of ongoing medical and
  mental health treatments for those who survive. These costs also include the mental health
  treatments that may be required both by those who are injured and by members of their
  families and communities.

  Additionally, firearm violence imposes implicit, or opportunity costs. The most visible of these
  costs occur in the labor market. They include lost earnings from premature death or while
  injured, lost earnings capacity if survivors suffer any physical or mental disability, and
  productivity lost to employers. Opportunity costs also include the loss of capacity in any activity
  of private life.

  Finally, firearm violence may impair the qualities of life for all affected parties. In addition to
  direct harms to the qualities of life for victims, their families and their communities, “the threat
  of gun violence reduces the quality of life for all Americans by engendering concerns about
  safety, raising taxes, and limiting choices about where to live, work, travel, and attend school.”61

  “Quality of life” is not a commodity. Therefore, it does not have a market-established “price”.
  Nevertheless, it has an important value. That value may be difficult to estimate precisely, but the
  extent to which it is diminished by firearm violence is probably large.

  Incidents in which shooters deploy LCMs contribute disproportionately to all forms of these
  costs. The numbers of rounds fired and the numbers of individuals injured in these incidents are
  typically greater than in incidents in which LCMs are not deployed. Therefore, the direct medical
  and mental health costs associated with incidents in which LCMs are employed are also high.

  Incidents in which shooters deploy LCMs also occupy a prominent position in public awareness.
  They provoke a widespread sense of vulnerability. Consequently, the implicit costs of individual,
  family and community trauma associated with these incidents are especially high.


  IV.A.   The cost of firearm violence is high

  The externality of firearm violence imposes substantial costs on the American economy. These
  costs, in aggregate, are large relative to the size of that economy. Individually, they can exceed
  available resources and recur for multiple years.

  Thorough estimates of the costs of firearm violence at any level of aggregation must account for
  the intangible costs associated with the loss of life, the significant loss of life functions, the
  increase in physical and mental health costs, and the value of emotional suffering. Estimates

          61
           Philip J. Cook and Jens Ludwig, “The costs of gun violence against children”, The
  Future of Children, Vol. 12, Issue 2, Summer, 2002, pages 86-99.

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  that account for all of these costs are difficult to construct. The techniques available to do so
  differ for individuals and for the economy as a whole.

  Economy-wide estimates of the costs of firearm-related violence rely on generic estimates of the
  willingness-to-pay for safety across the entire population and of the value of an anonymous life.
  In contrast, each individual can be associated with the specific harms that they have suffered
  from their personal experience of firearm-related violence. In principle, a monetary cost can be
  imputed to each of these harms, and combined to assess the total burden that each affected
  individual bears.


  IV.A.1 Total costs to the economy

  Firearm violence imposes many tangible and intangible costs on the economy. Estimates of
  these costs vary because of differences in data, chronology and technique. However, all
  estimates agree that these costs are substantial.

  The cost of medical treatment required by victims of firearm-related violence is one example of
  these tangible costs. One estimate of the annual “cost of initial hospitalization for firearm-
  related injuries” over the period from 2006 through 2014 was $735 million.62 This estimate did
  not include the costs associated with patients who were treated for firearm-related injuries in
  emergency departments but who were not admitted to a hospital, or readmission costs for
  those who had to return to a hospital.

  A second estimate valued expenses for initial emergency department and inpatient care for
  those injured or killed in firearm-related incidents at slightly more than $1 billion in each of 2016
  and 2017.63 This estimate did not include “the costs of physicians providing hospital care”.




         62
          Sarabeth A. Spitzer, Kristan L. Staudenmayer, Lakshika Tennakoon, David A. Spain, and
  Thomas G. Weiser, “Hospitalizations for firearm injuries in the United States, 2006-2014",
  American Journal of Public Health, Vol. 107, No. 5, May, 2017, pages 770-774.
         63
          Firearm Injuries: Health Care Service Needs and Costs, United States Government
  Accountability Office Report to Congressional Requesters, June, 2021.

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  The most comprehensive estimates all assess the direct costs of medical care at approximately
  $2.8 billion per year. These estimates apply to 2006 through 201464, 201065, and 201966.

  Another example of the tangible costs imposed on American society by firearm-related violence
  is the burden this violence places on law enforcement and the legal system. This burden appears
  be greater than that on the medical system.

  An estimate of the police and criminal justice costs associated with firearm injury in 2010 was
  $4.9 billion.67 An estimate of the cost of police responses and investigations, court
  administration staff and processes, and incarceration associated with firearm-related injuries in
  2019 was $11.0 billion.68 The cost of “processing the ‘extra’ murder cases resulting from the
  higher fatality rate in gun assaults is approximately $2.4 billion per year”.69

  Together, the additional costs of providing medical care and of engaging public safety and
  criminal justice constitute most of the direct, tangible costs of firearm-related violence. An
  estimate for the total of these costs in 2010 was $8.4 billion.70 In 2019, it was $14.4 billion.71

  As high as these tangible costs are, the intangible costs of firearm-related violence are much
  greater. The most familiar among them are the wages and productivity that are forgone because
  those injured in this violence are not able to regain their pre-injury productivity at work. An




         64
           Faiz Gani, Joseph V. Sakran and Joseph K. Canner, “Emergency department visits for
  firearm-related injuries in the United States, 2006-14", Health Affairs, Vol. 36, No. 19, 2017,
  pages 1729-1738.
         65
           Children’s Safety Network, National Injury and Violence Prevention Resource Center,
  The Cost of Gun Violence,
  https://www.childrenssafetynetwork.org/sites/default/files/TheCostofGunViolence.pdf.
         66
              Everytown for Gun Safety, The Economic Cost of Gun Violence, 19 July 2022.
         67
              Children’s Safety Network, ibid.
         68
              Everytown for Gun Safety, ibid.
         69
              Cook and Ludwig, ibid.
         70
              Children’s Safety Network, ibid.
         71
           Everytown for Gun Safety, Methodologial Note for the Economic Cost of Gun
  Violence, 19 July 2022.

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  estimate of these losses for 2010 was $52.5 billion.72 An estimate for the losses in 2019 was
  $54.3 billion.73

  In 2010, the estimated total of direct costs of firearm-related violence and the forgone wages
  and productivity was $60.8 billion. This represented $578,473 for each of the 105,177 individuals
  killed or wounded by firearm-related violence.74

  This estimate is of roughly the same magnitude as an analogous estimate for 2013.
  Approximately 41,000 firearm-related deaths occurred in that year. The estimated “combined
  medical and work-loss costs” associated with all firearm-related deaths were approximately
  $44.1 billion.75 The estimated costs associated with all firearm-related injuries were
  approximately an additional $1.7 billion.76 The total was, therefore, $45.8 billion.

  Estimated direct costs, foregone wages and foregone productivity associated with firearm-
  related violence in 2019 were $67.7 billion. This represents $588,696 in costs for each of the
  approximately 115,000 individuals who were injured or killed by firearms in that year.77

  As large as medical and work-loss costs have been, the intangible opportunity costs associated
  with lives lost to firearm-related fatalities and quality of life lost to firearm-related injuries has
  been much larger. Two procedures are available for estimating these costs. Contingent Valuation
  (CV) queries individuals directly about the value that they would place on these losses for the
  purpose of estimating the aggregate willingness-to-pay (WTP). The Value of a Statistical Life
  (VSL) infers the value assigned to changes in mortality risks from observable market
  transactions.



         72
              Children’s Safety Network, ibid.
         73
              Everytown for Gun Safety, ibid.
         74
              Children’s Safety Network, ibid.
         75
           Curtis Florence, Thomas Simon, Tamara Haegerich, Feijun Luo, and Chao Zhou,
  “Estimated lifetime medical and work-loss costs of fatal injuries – United States, 2013",
  Morbidity and Mortality Weekly Report, Vol. 63, No. 38, 2015, pages 1o74-1077.
         76
             Curtis Florence, Tamara Haegerich, Thomas Simon, Chao Zhou, and Feijun Luo,
  “Estimated lifetime medical and work-loss costs emergency department-treated non fatal
  injuries – United States, 2013", Mordity and Mortality Weekly Report, Vol. 63, No. 38, 2015,
  pages 1078-1082.
         77
              Everytown for Gun Safety, ibid.

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  CV infers values for goods or experiences that are not ordinarily exchanged in the market. It
  does so by asking people to estimate the value that they would place on these goods or services
  in hypothetical transactions.78 In 1998, Cook and Ludwig employed this procedure to estimate
  the value of gun safety.

  Cook and Ludwig surveyed a nationally representative sample of 1,200 American adults. Each
  respondent was asked whether they would be willing to increase their own taxes in order to
  reduce gun injuries by 30%. The sample was split into thirds, each of which was asked to
  consider a different tax increase.

  Four hundred respondents were asked if they would be willing to pay an additional $50 in taxes
  for this purpose. Of them, 75.8% agreed. Four hundred respondents were asked if they would be
  willing to pay an additional $100 in taxes, to which 68.5% agreed. Finally, 400 respondents were
  asked if they would be willing to pay an additional $200 in taxes, to which 63.6% agreed.

  These responses, extrapolated statistically so as to apply to the entire population, imply that
  “the average American household would pay $239 more per year in taxes to fund such a
  program.” Therefore, the collective WTP for a 30% reduction in firearm-related injuries would be
  approximately $24.5 billion. This implies a collective value on all of firearm-related injuries of
  approximately $82 billion.

  With the addition of direct costs, Cook and Ludwig estimated that “(t)he total costs of gun
  violence to society are approximately $100 billion per year”.79 This was probably an
  underestimate, for two reasons. First, the survey question did not inquire about WTP for
  reductions in firearms-related fatalities. Second, respondents might have hoped that other
  taxpayers would agree to pay for this program, and so understated their own WTP.
  Nevertheless, this estimated loss was approximately 1.1% of GDP in that year.

  The VSL procedure begins by observing the values of expenditures that are associated with
  changes in safety.80 These values can be observed, for example, in the increased compensation
  that workers require in return for performing more dangerous jobs. They can also be observed in
  the expenditures that people are willing to incur in order to acquire safety equipment.

         78
            Cook and Ludwig, ibid. provide a brief introduction. “Contingent valuation”, by
  Richard T. Carson and W. Michael Hanemann, in the Handbook of Environmental Economics,
  Vol. 2, edited by K.-G. Maier and J.R. Vincent, Elsevier, offers a more thorough explanation.
         79
              Cook and Ludwig, ibid.
         80
             Section 3.2, “Valuing mortality risk reductions”, in Guidelines for Regulatory Impact
  Analysis, 2016, Office of the Assistant Secretary for Planning and Evaluation, Department of
  Health & Human Services, offers a more thorough explanation. See also Cook and Ludwig, ibid.

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  The VSL calculation then extrapolates this value in order to estimate the value that would be
  experienced to the definitive preservation of life. This calculation yields a range of values,
  depending on the risks upon which it is based.

  For the year 2019, Guidlines for Regulatory Impact Analysis, 2016 identifies the low end of this
  range, the “Low VSL estimate”, as $4.7 million per life. The “High VSL Estimate” is $15.2 million.
  The “Central VSL estimate” for this year is $10.0 million.

  The central VSL estimate allows for a simple estimate of the cost of firearm-related deaths in the
  United States. There were 39,740 recorded deaths associated with the use of firearms in 2018,
  39,707 in 2019, 45,222 in 2020 and 48,830 in 2021.81 At $10 million for each life, these lost lives
  alone imposed an annual cost on the American economy of between just less than $400 billion
  to nearly $500 billion.

  The Economic Cost of Gun Violence presents a more sophisticated calculation. It removes the
  estimated losses associated with the loss of work compensation and productivity, because they
  have been accounted for separately. It also places a value on the losses suffered by those who
  were injured in firearm-related incidents.

  With these adjustments, Everytown for Gun Safety estimates that the loss in quality of life
  associated with firearm-related injuries and deaths in 2019 would have been approximately
  $489 billion. Together with the direct and other opportunity costs, the total cost of firearm-
  related injuries and death to the economy was approximately$557 billion. This represents 2.6%
  of Gross Domestic Product (GDP).

  Children’s Safety Network assigns a value to the lost quality of life associated with firearm-
  related violence in 2010. That value is $113.3 billion. Together with the other costs that it
  estimates, this yields a total estimated cost of firearm-related gun violence of $174.1 billion. This
  would have represented approximately 1.2% of GDP in that year. This is substantial, though
  noticeably less than the estimate of Everytown for Gun Safety.

  However, Children’s Safety Network does not identify the methodology that it used to construct
  its estimates. It assigns a value of $98.0 billion to the quality of life lost for the 31,672 firearm-
  related fatalities in 2010. This implies a VSL of only approximately $3.1 million.


         81
            Centers for Disease Control and Prevention, National Center for Health Statistics.
  National Vital Statistics System, Mortality 2018-2021 on CDC WONDER Online Database,
  released in 2021. Data are from the Multiple Cause of Death Files, 2018-2021, as compiled from
  data provided by the 57 vital statistics jurisdictions through the Vital Statistics Cooperative
  Program. Accessed at http://wonder.cdc.gov/ucd-icd10-expanded.html on Mar 23, 2023
  1:46:14 AM

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  At the more conventional VSL value of $10 million per lost life, these fatalities alone would
  impose a loss of $316.7 billion, or 2.1% of GDP in 2010. This suggests that the discrepancy
  between the Everytown for Gun Safety estimate of annual total costs associated with firearm-
  related violence and that of the Children’s Safety Network may be explained by the choice of an
  unusually low VSL by the latter.

  Despite their magnitudes, all of these estimates almost surely understate the true cost of
  firearm-related violence. They do not account for the costs of precautionary actions taken for
  the purpose of avoiding exposure. They ignore the psychological burden that firearm-related
  violence, and, in particular, LCM-related violence, imposes on the population at large. These
  costs are borne even by individuals who have not, themselves, participated in instances of
  firearms-related violence.


  IV.A.2. Costs to victims

  Individuals who have survived firearms-related violence experience a wide range of physical and
  mental harms in the first year following their injuries. Initial evidence suggests that these harms
  can continue to impair the lives of victims for six years or more.

  Post-Traumatic Stress Disorder (PTSD) is a common consequence of victimization in firearm-
  related violence. Of 100,704 individuals who were treated in hospitals for firearm related
  injuries, approximately 6.7% were readmitted into hospitals within six months of the injury with
  symptoms of PTSD.82 Of 63 victims of moderate-to-severe firearm injuries, interviewed six to 12
  months following the shooting, half screened positive for PTSD. They were significantly more
  likely to do so than were 255 matched survivors of motor vehicle crash survivors with similar
  physical injuries.83

  Victims of firearm-related violence suffer from many other harms. Among the 100,704
  individuals who were treated in hospitals for firearm related injuries, another 6.7% were
  readmitted into hospitals within six months of the injury with symptoms other than PTSD.84

         82
            Bellal Joseph, Kamil Hanna, Rachael A. Callcut, Jamie J. Coleman, Joseph V. Sakran,
  and Leigh A. Neumayer, “The hidden burden of mental health outcomes following firearm-
  related injuries”, Annals of Surgery, Vol. 270, No. 4, October, 2019, pages 593-599.
         83
            Juan Pablo Herrera-Escobar, Elzerie de Jager, Justin Conrad McCarty, Stuart Lipsitz,
  Adil H. Haider, Ali Salim, and Deepika Nehra, “Patient-reported outcomes at 6 to 12 months
  among survivors of firearm injury in the United States”, Annals of Surgery, Vol. 274, No. 6,
  December, pages e1247-e1251.
         84
              Joseph, et al., ibid.

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  A study of 2,178 youths who had survived firearm wounds demonstrated that one-quarter
  displayed new mental health disorders in the year following injury. “The most common new
  diagnosis categories were trauma disorders, substance abuse, and disruptive disorders.”85

  Often, victims suffer from multiple harms. Of the 63 victims of moderate-to-severe firearm
  injuries, two-thirds reported daily pain, nearly 60% had not returned to work, and almost 40%
  “reported a new functional limitation in an activity of daily living”. They were significantly more
  likely to experience daily pain and have “significantly worse physical and mental health-related
  quality of life” than were the 255 matched survivors of motor vehicle crash survivors with similar
  physical injuries.86

  A comparison of 6,498 survivors of injuries inflicted by firearm violence to 32,490 control
  participants found that, in the year following injury, survivors had “a 40% increase in pain
  diagnoses, a 51% increase in psychiatric disorders, and an 85% increase in substance use
  disorders after firearm injury relative to control participants”. These conditions were
  accompanied by the experience of increased pain and more frequent resort to psychiatric
  medications.87

  A study of 531 injury patients found that 20% had clinical levels of one or more of anxiety,
  depression, PTSD, pain or negative functional outcomes six to 12 months following trauma
  treatment. These disorders may not only be long-lasting, but self-reinforcing:

         “Beyond the obvious physical manifestations of injury, late and long-term consequences
         of trauma include impairment in social functioning, psychological disturbances, social
         isolation, destruction of families, and lack of productivity. This is a complex interplay of
         effects, as the psychosocial effects of traumatic injury likely negatively influence social
         reintegration and return to productivity, creating a potentially vicious cycle.”88


         85
           Elizabeth R. Oddo, Lizmarie Maldonado, Ashley B. Hink, Annie N. Simpson, and Annie
  L. Andrews, “Increase in mental health diagnoses among youth with nonfatal firearm injuries”,
  Academic Pediatrics, Vol. 21, No. 7, September-October, 201 pages 1203-1208.
         86
            Juan Pablo Herrera-Escobar, Elzerie de Jager, Justin Conrad McCarty, Stuart Lipsitz,
  Adil H. Haider, Ali Salim, and Deepika Nehra, ibid.
         87
            Zirui Song, Jose Zubizarreta, Mia Giuriato, Erica Paulos, and Katherine Koh, “Changes
  in health care spending, use, and clinical outcomes after nonfatal firearm injuries among
  survivors and family members”, Annals of Internal Medicine, Vol. 175, No. 6, June 2022, pages
  795-803.
         88
           Juan P. Herrera-Escobar, Anupamaa J. Seshadri, Ewelina Stanek, Kaye Lu, Kelsey Han,
  Sabrina Sanchez, Haytham M. A. Kaafarani, Ali Salim, Nomi C. Levy-Carrick, and Deepika Nehra,

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  Consequently, the costs of these disorders can accumulate over many years. They will almost
  surely exceed the estimates that can be derived from studies of short-term effects.

  This expectation is supported by a study of 183 young adults who had survived firearm wounds
  for, typically, six years. It revealed that these victims experienced consistently diminished global
  physical health and global mental health. Nearly half “had a positive screen for probable PTSD”.
  These results “suggest that the lasting effects of firearm injury reach far beyond mortality and
  economic burden. Survivors of GSWs [gun shot wounds] may have negative outcomes for years
  after injury.”89

  A comprehensive review of the medical research addressing survivors of firearm injuries
  concluded that “(m)ost studies reported worse long-term outcomes for firearm injury survivors
  when compared both to similarly injured motor vehicle collision survivors and to the United
  States general population”. Up to a quarter of survivors were readmitted to hospital within six
  months of injury. Over the same time span, more than half of survivors exhibited symptoms of
  PTSD. “Studies also reported high rates of reduced mental health composite scores, lower
  employment and return to work rates, poor social functioning, increased alcohol and substance
  abuse.”90

  Only one of these studies reports explicit economic costs. Song, et al. report that survivors of
  firearm injuries inflicted from 2008 through 2018 experienced increased spending on medical
  care of approximately $2,500 per month during the year following injury.91 In comparison,




  “Mental health burden after injury: It’s about more than just Posttraumatic Stress Disorder”,
  Annals of Surgery, Vol. 274, No. 6, December, 2021, pages. e1162-e1169.
         89
           Michael A. Vella, Alexander Warshauer, Gabriella Tortorello, Joseph Fernandez-
  Moore, Joseph Giaolone, Bofeng Chen, Alexander Cabulong, Kristen Chrelman, Carrie Sims, C.
  William Schwab, Patrick M. Reilly, Meghan Lane-Fall, and Mark J. Seamon, “Long-term
  functional, psychological, emotional, and social outcomes in survivors of firearm injuries”,
  JAMA Surgery, Vol. 155, No. 1, 2020, pages 51-59.
         90
            Claudia P. Orlas, Arielle Thomas, Juan P. Herrera-Escobar, Michelle A. Price, Adil H.
  Haider, and Eileen M. Bulger, “Long-term outcomes of firearm injury survivors in the United
  States: The National Trauma Research Action Plan Scoping Review”, Annals of Surgery, Vol. 274,
  No. 6, December, 2021, pages 962-970.
         91
              Song, et al., ibid.

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  personal monthly income per capita in 2013 was approximately $3,700.92 The average costs of
  medical care alone were equivalent to two-thirds of average monthly income.

  At the same time, this estimate does not include the many personal costs experienced by these
  survivors. It does not assign a monetary value to the pain, PTSD, other psychiatric disorders, or
  substance use disorders that these survivors experienced. Consequently, it must be a substantial
  underestimate.

  In general, research regarding the harms that survivors of firearm violence endure seems to
  measure these harms only in terms of incidence and duration. In principle, methods such as CV
  and VSL could be adapted to translate these measures into equivalent monetary values. These
  translations would almost surely reveal extensive costs.


  IV.A.3. Costs to families

  Family members of those who are injured or killed by firearm-related violence may also incur
  costs. Among those costs would be the loss of financial support from injured relatives and
  efforts required to support these relatives financially and emotionally. There appear to be no
  systematic estimates of these costs.

  Family members of those who are injured or killed by firearm-related violence may not,
  themselves, be at heightened risk for increases in direct medical costs. However, they could
  experience notable risks of confronting mental health challenges. “(E)xposure to assaultive
  violence, or learning that a close friend or loved one has faced such exposure, is associated with
  an increased incidence of a range of negative mental health outcomes, among them
  posttraumatic stress disorder (PTSD) and major depression (MD)”93

  However, limited evidence is available in this regard. In a comparison of 12,489 family members
  of survivors of firearm-related violence to 62,445 control participants, family members of
  survivors experienced increases in psychiatric disorders that were 12% greater than the
  increases experienced by the control participants.94



         92
            U.S. Bureau of Economic Analysis, Personal income per capita [A792RC0Q052SBEA],
  retrieved from FRED, Federal Reserve Bank of St. Louis;
  https://fred.stlouisfed.org/series/A792RC0Q052SBEA, March 24, 2023.
         93
           Lowe, Sarah R. and Sandra Galea, “The mental health consequences of mass
  shootings”, Trauma, Violence & Abuse, Vol. 18, No. 1, 2017, pages 62-82.
         94
              Song, et al., ibid.

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  IV.A.4. Costs to communities

  Communities in which firearm-related violence takes place can suffer explicit economic losses.
  As an example, owner-occupied dwelling units in the catchment area for Columbine High School
  lost 10.1% of their value in the year following the massacre at that school.95

  As discussed in section IV.B below, fears of firearm-related violence are widespread. They can be
  exacerbated by actual instances of that violence. These fears may give rise to generalized stress
  and more specific mental health conditions among the members of victims’ communities
  beyond the victims’ families. The costs of bearing and treating any such conditions that arise are
  also attributable to firearm-related violence.


  III.A.5. Costs in international perspective

  Firearm violence occurs throughout the world. However, the level of firearm violence is high in
  the United States, in comparison to the levels that prevail in other developed countries.

  Table 20 presents this comparison. It includes all countries in the Organization for Economic Co-
  operation and Development (OECD ) with Gross Domestic Product (GDP) per capita in 2016
  above $20,000.96 It presents the age-standardized mortality rate from homicide by firearm per
                                       97
  100,000 capita from the same year.

  The risk of firearm-related homicide in the United States was 4.0 per 100,000 population. That
  risk was much greater than in any other country at similar levels of economic development.

  The next highest risk was in Chile, where the firearm-related homicide rate was 1.6 per 100,000
  population. This rate was only 40% of that in the U.S. Moreover, GDP per capita in Chile was also
  only 40% of the American level.




         95
          Patrick J. Gourley, “Social stigma and asset value”, in Three Essays in Applied
  Microeconometrics, Ph.D. dissertation at the University of Colorado Boulder, 2016.
         96
            OECD,
  https://www.oecd-ilibrary.org/economics/data/oecd-national-accounts-statistics/national-acco
  unts-at-a-glance_data-00369-en. The omitted countries are Columbia, Costa Rica and Mexico.
         97
           The Global Burden of Disease 2016 Injury Collaborators, “Global Mortality From
  Firearms, 1990-2016: Supplement", JAMA, Vol. 320, No. 8, 2018.

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  The rate of firearm homicides in Canada was .5 per 100,000, or one-eighth of the rate in the
  United States. If the rate of firearm-related violence in the U.S. was equivalent to that in Canada,
  the costs of firearm-related violence to the American economy would be much less.

  Section IV.A.1 above presented various estimates of these costs in the U.S. The most
  comprehensive were in a range around one-half trillion dollars. If these costs could have been
  reduced to one-eighth of their actual level, they would have been in a range around $60 billion
  instead. This would have represented a savings of over $400 billion.

  GDP per capita in the U.S. in 2016 was $57,593. The rates of firearm-related homicide in all other
  OECD countries with GDP per capita equal to $50,000 or more were .2 per 100,000 or less. These
  rates were one-twentieth or less of the rate in the U.S.

  Consequently, the costs of firearm-related violence in other countries at similar levels of
  economic development were much less than those in the United States. If the rate of firearm-
  related violence in the U.S. could have been reduced to the levels observed in Australia, the
  Netherlands, Sweden or Switzerland, the attendant costs would have been approximately $2.5
  billion. If the rate of firearm-related violence in the U.S. could have been reduced to the levels
  observed in Austria, Denmark, Germany, Iceland or Norway, the attendant costs would have
  been approximately $1.3 billion. Reductions of this magnitude would have represented savings
  of approximately one-half of one trillion dollars.




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                                             Table 20

                  Firearm homicide mortality rates in OECD countries, 2016

                                Age-standardized mortality
                              rate from homicide by firearm
            OECD country            per 100,000 capita, 2016    GDP per capita, 2016
            United States                                4.0                 $57,593
            Chile                                         1.6               $23,385
            Turkiye                                       1.3               $26,696
            Israel                                        1.0               $38,220
            Canada                                       0.5                $46,472
            Lithuania                                    0.5                $30,925
            Estonia                                      0.4                 $31,310
            Greece                                       0.4                 $27,512
            Italy                                        0.4                $40,267
            Latvia                                       0.4                $26,724
            Portugal                                     0.4                $31,608
            Slovak Republic                              0.4                $29,738
            Belgium                                       0.3               $48,599
            France                                        0.3               $42,856
            Australia                                    0.2                 $50,137
            Czech Republic                               0.2                $36,101
            Finland                                      0.2                $44,934
            Ireland                                      0.2                 $71,633
            Luxembourg                                   0.2               $112,955
            Netherlands                                  0.2                $52,289
            Slovenia                                     0.2                $33,943
            Sweden                                       0.2                $50,430
            Switzerland                                  0.2                 $67,351
            Austria                                       0.1               $52,665
            Denmark                                       0.1               $51,967
            Germany                                       0.1               $50,579
            Hungary                                       0.1               $27,942
            Iceland                                       0.1               $53,487
            New Zealand                                   0.1               $39,697
            Norway                                        0.1               $59,263
            Poland                                        0.1                $27,831
            Spain                                         0.1                $37,333
            United Kingdom                                0.1               $44,231
            Japan                                        0.0                $40,643
            South Korea                                  0.0                 $39,575



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  IV.B.   Mass shootings are disproportionately costly

  Mass shootings are relatively rare. However, the social cost that they impose is extensive. Apart
  from the numerous victims, their families, friends and communities experience extensive and
  long-lasting trauma. In an internet search for “Columbine”, nine of the first 11 results are about
  the massacre that took place at Columbine High School in Littleton, Colorado, 24 years ago. The
  15 deaths there are much more prominent in the public consciousness than are the 15, 150 or
  even 1,500 most recent deaths in Colorado from motor vehicle accidents.

  Everytown Research & Policy defines “mass shootings” as instances of firearm-related violence
  in which at least four people were killed apart from the shooter. Between 2009 and 2020, 240 of
  these shootings occurred.

  In these shootings, 1,363 victims were killed and 947 victims were wounded. The total number
  of victims was 2,310.98 The numbers of family members who may have been affected by these
  mass shootings could number in the tens of thousands.

  All victims and their families would represent less than .1% of the American population.
  However, the costs associated with firearms-related violence extend well beyond victims and
  their families.

  Mental health challenges associated with mass shootings are apparently widespread. In 2019,
  71% of all adults reported that mass shootings were a “significant source of stress”.99 More
  specifically,

          “(t)he research to date provides evidence that these events [mass shootings] can have
          mental health consequences for victims and members of affected communities, leading
          to increases in PTSS [post-traumatic stress symptoms], depression, and other
          psychological symptoms. The few studies on remote samples further suggest that these
          events can have at least short-term psychological effects, for example, increased fears
          and declines in perceived safety, on persons living far outside of the affected
          communities.”100



          98
           Everytown Research & Policy,
  https://everytownresearch.org/maps/mass-shootings-in-america/. At least 17 of these
  instances involved only an LCM-assisted handgun.
          99
           American Psychological Association, Stress in America 2019.
  https://www.apa.org/news/press/releases/2019/08/fear-mass-shooting.
          100
                Lowe and Galea, ibid.

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  The possibility of encountering extreme firearms-related violence reduces the well-being of
  millions of individuals who have not yet experienced firearms-related violence, themselves. On
  three recent occasions, the Gallup poll asked adult respondents the question “How worried are
  you that you or someone in your family will become a victim of a mass shooting?” Table 21
  records the responses.101


                                                  Table 21

                   Americans' Level of Worry About Being a Victim of Mass Shooting

                                 Very        Somewhat        Not too      Not worried
                                worried       worried        worried         at all
     August 1, 2019              19%           29%            27%            25%
     October 1, 2017             10%           29%            34%            26%
     December 1, 2015            11%           27%            35%            27%


  If the August 2019 polling results applied to the 2020 U.S. adult population of 258.3 million102,
  they would imply that 49.1 million adults were “very worried” about being victimized in a mass
  shooting. Another 74.9 million adults were “somewhat worried” about being victimized in a
  mass shooting. This demonstrates that the costs of mass shootings go well beyond the victims.

  An illustrative example in the tradition of CV analysis suggests some magnitudes for these costs.
  If those who were “very worried” about being victimized in a mass shooting were willing to pay
  an annual fee of $100 in order to be completely protected from mass shootings, their collective
  WTP would be $4.9 billion. This would estimate the cost of their fears to society.

  If those who were “somewhat worried” were willing to pay an annual fee of $50 for this
  protection, their collective WTP would be $3.7 billion. If, in addition, the 69.7 million people who
  were not too worried were willing to pay an annual fee of $25, the collective WTP would
  increase by $1.7 billion.

  In total, these WTP responses would yield a collective cost of $10.3 billion. If individual
  willingness-to-pay was greater than these suggestive quantities, the collective cost would be
  greater as well.


         101
            Gallup,
  https://news.gallup.com/poll/266681/nearly-half-fear-victim-mass-shooting.aspx.
         102
               U.S. Bureau of the Census, ibid.

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  Table 21 may understate the fears that are engendered by mass shootings across the population
  of the United States. In August 2019, the Harris Poll also conducted a survey regarding these
  fears, on behalf of the American Psychological Association (APA).103

  In the responses to this survey, 32% of adults reported that “ they cannot go anywhere without
  worrying about being a victim of a mass shooting”. This fear would seem to be at least as intense
  as the feeling of being “very worried”, assessed by the Gallup poll. Applied to the 2020
  population, this estimate implies that 82.7 million adults worry persistently about being
  victimized by a mass shooting.

  Another third of adults reported that “fear prevents them from going to certain places or
  events”. Again, this fear would seem to be at least as intense as the feeling of being “somewhat
  worried”, assessed by the Gallup poll. It would afflict 85.2 million adults in 2020.

  The illustrative CV exercise above, applied to the results of the Gallup poll, would assign a WTP
  for safety from mass shootings of $12.5 billion. This would be nearly 50% greater than the
  illustrative WTP assigned to those who responded as “very worried” or “somewhat worried” to
  the Gallup poll.104

  A similar exercise can be applied to youths. In 2018, 25% of youths aged 13 to 17 reported that
  they were “very worried about the possibility of a shooting happening at their school.” Another
  32% reported that they were “somewhat worried”.105

  The population of 12 to 17 year-olds in the United States in 2018 was approximately 25.0
  million.106 If the fears reported by 13 to 17 year-olds also applied to 12 year-olds, approximately


         103
           American Psychological Association,
  https://www.apa.org/news/press/releases/2019/08/fear-mass-shooting.
         104
             In response to the APA poll, “nearly one-quarter (24%) of adults report changing how
  they live their lives because of fear of a mass shooting”. In principle, an alternative valuation of
  the costs of these fears could be constructed by measuring the costs of these alterations in life
  practices, and by valuing the reduction in life satisfaction that they entail. However, public
  reports of this poll do not provide the necessary data.
         105
           Pew Research Center,
  https://www.pewresearch.org/fact-tank/2018/04/18/a-majority-of-u-s-teens-fear-a-shooting-c
  ould-happen-at-their-school-and-most-parents-share-their-concern/.
         106
            ChildStats Forum on Child and Family Statistics,
  https://www.childstats.gov/americaschildren/tables/pop1.asp, derived from statistics provide
  by the U.S. Bureau of the Census.

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  6.3 million American youths were very worried, and 8 million were somewhat worried about
  becoming victims of mass shootings in their schools.

  If the youths who were “very worried”, or their parents, were prepared to pay $100 per student
  in order to eliminate mass shootings in schools, the collective WTP for this group would be $630
  million. If the youths who were “somewhat worried”, or their parents, were prepared to pay $50
  per student in order to eliminate mass shootings in schools, the collective WTP for this group
  would be $400 million. In sum, this exercise would value the fears of youths regarding the
  possibility of victimization in a school mass shooting at over one billion dollars.

  Actual WTP expressions would probably exceed those employed in these illustrative examples.
  They would have to incorporate the costs of substantial mental health burdens imposed on
  students by exposure to mass shootings in schools.

  A student recently described these costs as they arose from a false report of a shooter at Denver
  East High School on 19 September 2022:

         "Everyone was crying. ... While writing this I look back on all of my texts from that day.
         My friend had written, ‘I saw a girl sitting up against a tree on the ground with an
         absolutely blank expression on her face. My teachers tried to talk to her or at least get
         her to blink. I could see her mental damage and it made me cry again. I can't believe this
         happened.’ We are children, children whose lives are forever changed from this day. To
         us, this was a shooting, just without the shots.”107

  As the student testifies, these costs were imposed merely by the threat of firearm-related
  violence. Actual firearm-related violence would be more costly.

  Among 2,263 high school students, “concerns about school violence or shootings were
  associated with clinically significant generalized anxiety symptoms ... and panic symptoms ... at
  the 6-month follow-up”.108 These clinically significant mental health conditions impose costs of
  treatment and suffering that may far exceed $100.


         107
            Testimony of Anna Cripe in front of the Senate Judiciary Committee of the Colorado
  State Assembly in support of SB23-249, 10 April 2023,
  https://sg001-harmony.sliq.net/00327/Harmony/en/PowerBrowser/PowerBrowserV2/2023041
  4/41/14528#info_.
         108
            Kira E. Riehm, Ramin Mojtabai, Leslie Adams, Evan A. Krueger, Delvon T. Mattingly,
  Paul S. Nestadt, and Adam M. Leventhal, “Adolescents’ concerns about school violence or
  shootings and association with depressive, anxiety, and panic symptoms”, JAMA Network
  Open, Vol. 4, No. 11, 2021.

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  School shootings may even impose permanent losses of future income on students. An analysis
  of the effects of these shootings on students in Texas found that “school shootings increase
  absenteeism and grade repetition; reduce high school graduation, college enrollment, and
  college completion; and reduce employment and earnings at ages 24–26.”109 All of these
  consequences are associated with additional costs that individual students must bear.

  Mass shootings also impose costs on school systems. Cabral, et al “further find school-level
  increases in the number of leadership staff and reductions in retention among teachers and
  teaching support staff in the years following a shooting.” They conclude that “(t)he adverse
  impacts of shootings span student characteristics, suggesting that the economic costs of school
  shootings are universal.”


  IV.C.   Shootings involving LCMs are disproportionately costly

  Available descriptive evidence indicates that LCMs are disproportionately deployed in the most
  horrific mass shootings. Of the 22 mass shootings involving 10 or more fatalities between 1990
  and 2022, only two occurred which were not LCM-assisted. In two additional incidents, an LCM
  with a capacity greater than 10 rounds but less than 15 rounds was deployed.110

  In the remaining 18 incidents, including 13 of the 14 with the largest number of fatalities, LCMs
  with capacities in excess of 15 rounds were deployed.111 In contrast, among the 29 mass
  shootings with six fatalities, only seven were LCM-assisted.

  LCM-assisted mass shootings are, consequently, deadlier than mass shootings in which LCMs are
  not deployed. Among mass shootings in which six or more deaths occurred among victims, the
  average number of fatalities among those shootings in which an LCM was not deployed was 7.7.
  The average number of fatalities in LCM-assisted mass shootings was 12.5.112

  Among mass shootings “in which four or more people are shot and killed, excluding the shooter”
  from 2009 through 2020, 42 were LCM-assisted. The average number of fatalities in these



          109
           Marika Cabral, Bokyung Kim, Maya Rossin-Slater, Molly Schnell, and Hannes
  Schwandt, Trauma at School: The Impacts of Shootings on Students’ Human Capital and
  Ecnoomic Outcomes, NBER Working Paper 28311, May, 2022.
          110
                Louis Klarevas, “Klarevas Data Set 1990-2022.xlsx”.
          111
                Klarevas, ibid.
          112
                Klarevas, ibid.

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  incidents was 10.0. An additional 16.9 individuals were wounded, on average, in these
  incidents.113

  In the 198 mass shootings with four or more fatalities that were not LCM-assisted, the average
  number of fatalities was 4.8. The average number of wounded victims was 1.2.114

  These statistics demonstrate that LCM-assisted mass shootings are more dangerous than are
  mass shootings in which LCMs are not deployed. Moreover, they are more salient.

  Among mass-shootings with four or more fatalities, 76% of LCM-assisted or assault weapon mass
  shootings occurred in public. Only 44% of mass shootings involving a handgun occurred in
  public.115

  Fears of victimization in mass shootings are concentrated on the possibility of encountering this
  experience in public places. “When asked which places they are stressed about the possibility of
  a mass shooting occurring, adults most commonly say a public event (53%), mall (50%), school or
  university (42%) or movie theater (38%)”.116 Mass shootings in these locations are most likely to
  be accomplished with the assistance of LCMs.

  Therefore, LCM-assisted mass shootings are more lethal and more prominent than are other
  mass shootings. Consequently, they bear a disproportionate responsibility for the harms that are
  inflicted on individuals and society through these tragedies.


  V.     LCM BANS MAY BE EFFECTIVE

  Evidence submitted in Cooke, et al. v. Hickenlooper and in Rocky Mountain Gun Owners, et al. v.
  Hickenlooper suggests that LCM bans may reduce the frequency with which LCMs are
  encountered by law enforcement. They may also be associated with reductions in rates of gun
  homicide.




         113
               Everytown Research & Policy, ibid.
         114
               Everytown Research & Policy, ibid.
         115
               Everytown Research & Policy, ibid.
         116
               American Psychological Association, ibid.

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  V.A.   The limited federal LCM ban may have reduced criminal use of LCMs117

  The federal Violent Crime Control and Law Enforcement Act of 1994, enacted on 13 September
  1994118, included limited restrictions on the possession of large-capacity magazines, defined as
  magazines with capacities in excess of ten rounds. These restrictions became effective upon
  enactment of the bill and expired ten years later.

  In 1993, the State Police in the State of Virginia created the Criminal Firearms Clearinghouse
  (CFC). The CFC maintains a database that records characteristics of all firearms confiscated by
  any law enforcement agency in the State because of use or suspected use in a crime.119

  These records yield annual estimates from 1993 to 2010 of the share of all confiscated firearms
  that were equipped with magazines whose capacities exceeded 10 rounds.120 The analysis here
  employs data from only the 18 years through 2010 because database reporting standards
  appear to have changed dramatically in 2011.




         117
            This section is adapted from the “Zax Second Rebuttal”, section III.C, submitted in
  Cooke, et al. v. Hickenlooper, U.S. District Court Case No. 13-CV-001300.
         118
           Title XI, Subtitle A, Section 110103. See
  https://www.govtrack.us/congress/bills/103/hr3355
         119
             “Virginia Code § 52-25.1, the Criminal Firearms Clearinghouse (CFC) serves as a
  central repository of information regarding all firearms seized, forfeited, found or otherwise
  coming into the possession of any state or local law-enforcement agency of the Commonwealth
  of Virginia which are believed to have been used in the commission of a crime. The database is
  maintained for law enforcement purposes only.”
  (http://www.vsp.state.va.us/Firearms_Clearinghouse.shtm).
         120
             The records begin on 1 July 1993. Consequently, the estimate for 1993 reflects only
  the last half of that year.

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                                              Table 22

                    Regression equation estimating contributions of trend and
               limited Federal ban to proportion of firearms confiscated in Virginia
                  equipped with magazines with capacity greater than 10 rounds

                        Explanatory        Estimated            t-   Significance
                        variables         coefficient    statistic           level
                        Trend                 !0.827         2.39              5%
                        Trend                  0.065         3.43              1%
                        squared
                        Ban                    3.194        2.17             10%
                        Trend during           0.975        1.62             15%
                        ban
                        Trend during         !0.175         3.43              1%
                        ban, squared
                        Constant              14.931       14.42           0.01%

                        R2                     0.902
                        Adjusted R2            0.861
                        F-statistic           22.090                       0.01%


         Note: Sample consists of 18 annual observations representing the years 1993
               through 2010.


  Table 22 presents a regression analysis in which the share of confiscated firearms is the
  dependent variable. The regression analysis statistically apportions variation in this dependent
  variable to an underlying secular quadratic trend, to a change in levels during the ban, a
  quadratic trend during the ban and an unexplained remainder.

  According to table 22, the explanatory variables in this regression explain approximately 90% of
  the year-to-year variation in the proportion of confiscated firearms equipped with LCMs. Only
  the effect of the quadratic component of the ban fails to achieve statistical significance at 10%
  or better.121 All of the other explanatory variables are significantly associated with this
  proportion.

         121
           Statistical significance at the 10% level or better is conventionally understood as
  noteworthy in samples that are as small as that analyzed here.

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                                            Table 23

                     Estimated contributions of trend and Federal ban to
                    percentage of firearms confiscated in Virginia equipped
                     with magazines with capacity greater than 10 rounds

               Baseline      Contribution    Contribution   Total estimated    Actual
        Year   percentage    of trend        of ban         percentage         percentag
                                                                               e
       1993        14.93%         !0.76%                             14.17%       13.41%
       1994        14.93%         !1.39%                             13.54%       14.52%
       1995        14.93%         !1.90%           3.99%             17.03%       17.21%
       1996        14.93%         !2.27%           4.44%             17.10%       16.18%
       1997        14.93%         !2.51%           4.54%             16.96%       17.53%
       1998        14.93%         !2.62%           4.29%             16.60%       17.29%
       1999        14.93%         !2.60%           3.68%             16.01%       15.88%
       2000        14.93%         !2.45%           2.73%             15.21%       15.17%
       2001        14.93%         !2.17%           1.43%             14.18%       13.66%
       2002        14.93%         !1.77%          !0.23%             12.94%       13.02%
       2003        14.93%         !1.23%          !2.24%             11.47%       11.29%
       2004        14.93%         !0.56%          !4.59%              9.78%       10.05%
       2005        14.93%          0.24%                             15.17%       12.98%
       2006        14.93%          1.17%                             16.10%       16.63%
       2007        14.93%          2.23%                             17.16%       18.07%
       2008        14.93%          3.42%                             18.35%       19.56%
       2009        14.93%          4.74%                             19.67%       20.57%
       2010        14.93%          6.19%                             21.12%       19.56%

        Note: The “baseline percentage” is the constant from the regression of table 23. The
        “contribution of trend” is equal to [!.8272×trend+.0651×(trend squared)], where the
        trend takes on the value of one for 1993 and increments by one for each successive year.
        The “contribution of ban” is equal to [3.1938+.9745×(trend during ban)+(!.1753)×(trend
        during ban squared)] where the trend during ban takes on the value of one for 1995 and
        increments by one for each successive year through 2004, and the value of zero for the
        other sample years.




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  Table 23 presents the implications of this regression. The first column of this table identifies the
  year represented by each observation. The final column reports the actual proportion of
  confiscated weapons that was equipped with LCMs in each year. Each of the intervening
  columns identifies the estimated contribution of the explanatory variables to the proportion of
  confiscated firearms equipped with LCMS.

  The estimated constant in this regression of 14.9% consitutes the baseline proportion of
  firearms equipped with LCMs among all confiscated firearms for the entire period. That
  proportion is indicated in the second column of table 23.

  The third column of table 23 reports the contribution of the linear and quadratic trends that
  were present throughout the period. The linear component of this trend had a negative effect
  on the proportion of confiscated firearms equipped with LCMs, significant at better than 5%. The
  quadratic component of this trend had a positive effect, significant at better than 1%.

  Together, these two effects imply that the proportion of confiscated firearms equipped with
  LCMs was trending downwards at the beginning of the period under analysis, under the
  dominant influence of the negative linear component. However, the positive quadratic
  component of the secular trend had the effect of slowing and then reversing this reduction. This
  predicts that, In the absence of any other influences, the proportion of firearms equipped with
  LCMs would have eventually increased continuously.

  Table 23 demonstrates the implications of these effect. The combined effect of the secular linear
  and quadratic trends reached its lower limit in 1998. In that year, the secular trend reduced this
  proportion by 2.62 percentage points below its baseline value of 14.93%.

  Starting in 2005, the secular trend began to increase the proportion of confiscated firearms
  equipped with LCMs above its baseline value. By 2010, the end of the period, the trend was
  responsible for increasing this proportion by 6.19 percentage points. Extrapolating to 2011, the
  effect of this secular trend would have been to increase this proportion by 7.77 percentage
  points.

  However, the proportion of confiscated firearms equipped with LCMs was also significantly
  affected by the limited federal LCM ban. First, the limited ban had the effect of increasing this
  proportion by 3.19 percentage points throughout the period during which it was in effect, with
  10% significance. In effect, the limited ban established a new baseline proportion that was 3.19
  percentage points higher than the baseline proportion prevailing in the absence of the limited
  ban.

  The increase in the baseline proportion may have been attributable to the change in the legal
  status of these magazines. In the absence of the limited ban, they would have been confiscated


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  only if they were attached to a firearm suspected of criminal involvement. During the limited
  ban, possession of these magazines under some circumstances would, itself, have been illegal.

  The proportion of confiscated firearms equipped with LCMs was also determined by a quadratic
  trend that was operative only during the limited ban. The linear component of this trend had a
  positive effect on the proportion of confiscated firearms equipped with LCMs, marginally
  significant at better than 15%. The quadratic component of this trend had a negative effect,
  significant at better than 1%.

  Together, these two effects imply that the proportion of confiscated firearms equipped with
  LCMs began to trend upward at the beginning of the limited ban period, as a consequence of the
  dominant influence of the positive linear component. As the period continued, the influence of
  the negative quadratic component increased, eventually reversing the trend and reducing the
  proportion of confiscated firearms equipped with LCMs.

  Presumably, the initial increase in the proportion of LCM-equipped firearms among all
  confiscated firearms occurred because the possession of the LCM accessory became illegal. That
  proportion then declined for two reasons. Confiscations would have reduced the number of
  available LCMs. Owners of the remaining LCMs would have become more cautious about
  exposing their accessories to the threat of confiscation.

  The fourth column of table 23 reports the combined influence of the change in baseline, the
  change in the linear component of the trend and the change in the quadratic component of the
  trend that occurred during the limited ban. It demonstrates that the combined effect of the two
  trend components reached its peak in 1997. In that year, the total contribution of the limited
  ban, including the new baseline effect, raised the proportion by 4.54 percentage points over
  what it would have been in the absence of the ban.

  Subsequent to 1997, the negative quadratic component of the limited ban trend became more
  influential, reducing the contribution of the limited ban to the proportion of confiscated firearms
  equipped with LCMs. By 2000 this reduction had reversed the positive component of the limited
  ban trend and some of the new limited ban baseline. Consequently, in that year, the limited ban
  raised this proportion, in total, by only 2.73 percentage points above what it would have been in
  the absence of the limited ban.

  The influence of the negative quadratic limited ban trend continued to grow through the rest of
  the period during which the limited ban was in effect. As a result, by 2002 the net effect of the
  limited ban was to reduce the proportion of confiscated firearms by slightly less than one-
  quarter of one percentage point below the level it would have attained in the absence of the
  limited ban. In 2004, the limited ban’s last year, it reduced this proportion by 4.59 percentage




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  points compared to the level it would have attained in the absence of the limited ban, to
  9.78%.122

  The regression of table 22 predicts that, had the limited ban continued to be in effect, it would
  have imposed successively greater reductions in the percentage of firearms confiscated in
  Virginia that were equipped with magazines with capacities greater than 10 rounds in each
  subsequent year. For example, had the limited ban been in effect in 2005, this percentage would
  have been 7.30 percentage points lower, at 7.88%, than it actually was.

  These results demonstrate that, as experience with the limited federal LCM ban evolved, the
  proportion of firearms equipped with LCMs confiscated for purposes of law enforcement
  eventually began to decline consistently and strongly. They imply that even limited bans on
  LCMs reduce the frequency with which these accessories are employed in criminal behavior.


  V.B.   LCM bans may have been associated with reduced gun homicide rates123

  Presumably, the intention of LCM bans is increase public safety, rather than simply restrict the
  use of a particular firearm accessory. Limited evidence suggests that these bans may achieve this
  goal.




         122
              As given in table 22, the positive linear component of the trend ban was of marginal
  statistical significance. A recompilation of Table 23, omitting its contribution, yields results that
  are qualitatively unchanged.
         123
              This section is adapted from the “Rebuttal to Large Capacity Magazines and
  Homicides, by Carlisle E. Moody”, sections III and IV, submitted in Rocky Mountain Gun Owners,
  et al., v. Hickenlooper, Denver District Court Case No. 2013CV33879.

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                                                Table 24

                        Regression equation estimating determinants of the
                    natural logarithm of gun homicides per 10,000 capita Virginia

                                                     Estimated                     Significance
         Explanatory variables                      coefficient      t-statistic           level
         1993                                           !0.036             0.18

         Trend, 1994-2004                                  -0.048         4.49              1%
         % of confiscated firearms equipped                -0.010         1.02
         with LCMs, 1994-2004

         Trend, 2005-2012                               -0.025            0.92
         % of confiscated firearms equipped             !0.025            2.12             10%
         with LCMs, 2005-2012

         Constant                                           1.864        10.31       <0.0001%


         R2                                                 0.878
         Adjusted R2                                        0.834
         F-statistic                                       22.110                     <.0001%


  Additional evidence from Virginia is consistent with the proposition that the limited federal ban
  on LCMs was associated with a reduction in rates of gun homicides. Table 24 presents a
  regression analysis whose purpose is to explore the evolution of gun homicide rates per 10,000
  capita in the State of Virginia from 1993 through 2012. The regression divides this period into
  three sub-periods.

  The first sub-period is 1993. This is the year before the limited federal ban on LCMs went into
  effect. This year is represented by its own intercept.124

  The coefficient for this intercept is statistically insignificant. This demonstrates that the gun
  homicide rate in Virginia during this year did not differ significantly from the baseline rate.



         124
            No other effect can be estimated for this year because it constitutes only one
  observation.

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  The sub-period of the limited ban, from 1994 through 2004, is characterized by two variables.
  First, a trend variable captures any linear pattern of change in the gun homicide rate over this
  period. Second, a variable measuring the proportion of confiscated firearms that were equipped
  with LCMs in each year during this period captures any effects around the trend of the
  composition of firearms in criminal use on gun homicide rates.

  The coefficient for the trend variable is negative and statistically significant. This implies that the
  rate of gun homicides in Virginia declined consistently through this period.

  The coefficient for the proportion of confiscated firearms that were equipped with LCMs is not
  statistically significant. This implies that variations in the composition of firearms in criminal use
  did not alter the declining trend in gun homicides over this period.

  The sub-period following the limited ban, from 2005-2012, is also characterized by a trend
  variable for the period and a variable measuring the proportion of confiscated firearms that
  were equipped with LCMs in each year during this period. The coefficient for this trend variable
  is statistically insignificant. This implies that there was no consistent trend in Virginia gun
  homicides during this period.

  In contrast, the coefficient for the proportion of confiscated firearms that were equipped with
  LCMs is negative and statistically significant. This implies that, during this sub-period, gun
  homicides in Virginia declined when law enforcement agencies confiscated more firearms
  equipped with LCMs.

  These results suggest that the cumulative effects of all of the provisions of the federal Violent
  Crime Control and Law Enforcement Act of 1994, including the limited LCM ban, were
  significantly associated with a continuing reduction in gun homicides in Virginia throughout the
  period in which the ban was enforced.

  When that Act expired, its effects disappeared. Instead, the gun homicide rate became
  responsive to the specific composition of firearms deployed in criminal activity. It was higher in
  years in which fewer LCMs were confiscated.




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                                              Table 25

                       Regression equation estimating determinants of the
                 natural logarithm of gun homicides per 10,000 capita in Colorado

                                                  Estimated                    Significance
         Explanatory variables                   coefficient     t-statistic           level
         Trend, 1977-1993                            !0.015            1.51

         Constant, 1994-2004                            -0.216        1.71             10%
         Trend, 1994-2004                               -0.023        1.51

         Constant, 2005-2012                        -0.504            3.50              1%
         Trend, 2005-2012                           !0.015            0.63

         Constant, 2013-2015                            -0.796        3.14              1%
         Trend, 2013-2015                               0.111         0.99

         Constant                                       1.328        18.03       <0.0001%


         R2                                             0.667
         Adjusted R2                                    0.592
         F-statistic                                    8.880                     <.0001%


  An analogous analysis of the experience in the State of Colorado suggests that the limited
  federal LCM ban and the later Colorado LCM ban were both associated with improvements in
  public safety. Table 25 examines the analysis of gun homicide rates per 10,000 capita in the
  State of Colorado from 1977 through 2015, inclusive.

  This period spans four important sub-periods. The first sub-period is from before the limited
  federal LCM ban, 1977 through 1993. The second is the sub-period in which the limited federal
  LCM ban was in force, 1994 through 2004. The third is the sub-period between the expiry of the
  limited federal LCM ban and the adoption of the Colorado LCM ban, 2004-2012. The final sub-
  period is 2013-2015, in which the Colorado ban on large capacity magazines was in force.

  The gun homicide rate in Colorado was distinctive in each of these sub-period. The constants for
  each are negative and statistically significant. This indicates that the base level for the gun



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  homicide rate in each of these sub-periods was lower than it was during the initial period, from
  1977 through 1993.

  Moreover, the intercept for the sub-period during which the Colorado ban on large capacity
  magazines was in force is the largest of the three in magnitude. This demonstrates that the base
  level for the gun homicide rate during this sub-period was lower than in any of the other three
  sub-periods.

  In this regression, the differences between the intercepts for each of the three later sub-periods
  are jointly significant at nearly the 5% level.125 This demonstrates that gun homicide rates in
  Colorado were statistically different in the four sub-periods of 1977-1993, 1994-2004, 2004-2013
  and 2013-2015. In particular, the base level for this rate was lowest during the last sub-period, in
  which the Colorado ban on large capacity magazines was in effect.

  The regression of table 25 estimates a negative intercept for the sub-period during which the
  limited federal ban LCMs was in effect, with significance just better than 10%. It also estimates a
  negative trend for this sub-period, with significance of slightly less than 10%. The intercept and
  trend for this period are jointly significant at better than 1%.126

  These results suggest that the effects of the limited federal ban on LCMs were complicated. It is
  likely that individual estimates of the unique base level and the unique trend for this period do
  not both attain the conventional levels of statistical significance because the sample is too small
  to identify them precisely.




         125
            Formally, the F-statistic for the joint test of the hypotheses that the intercept for
  1994-2004 is equal to that for 2005-2012, and that the intercept for 2005-2012 is equal to that
  for 2013-2015, is 3.25 with 2 and 31 degrees of freedom. The p-value for this statistic is .0522.
         126
            Formally, the F-statistic for the joint test of the hypotheses that the intercept for
  1994-2004 is equal to zero and the trend for 1994-2004 is equal to zero is 9.22, with 2 and 31
  degrees of freedom. The p-value for this statistic is .0007

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                                               Table 26

                       Regression equation estimating determinants of the
                 natural logarithm of gun homicides per 10,000 capita in Colorado

                                                    Estimated                     Significance
         Explanatory variables                     coefficient      t-statistic           level
         Trend, 1977-1993                              !0.009             1.24

         Trend, 1994-2004                                 -0.414         3.83              1%

         Constant, 2005-2012                          -0.430             3.04              1%
         Trend, 2005-2012                             !0.015             0.61

         Constant, 2013-2015                              -0.722         2.81              1%
         Trend, 2013-2015                                 0.111          0.96

         Constant                                         1.255         20.37       <0.0001%


         R2                                               0.636
         Adjusted R2                                      0.568
         F-statistic                                      9.310                      <.0001%


  This is demonstrated in table 26. This table presents a re-estimation of the regression in table
  25. This re-estimation omits the unique intercept for the sub-period during which the limited
  federal LCM ban was in effect. This sub-period is represented only by a unique trend. This
  specification focuses the information in the sample regarding this sub-period on the estimation
  of this trend, rather than dispersing it across the estimation of both a trend and a unique base
  level.

  In this regression, the sub-period during which the Colorado ban on large capacity magazines
  was in effect again has a significant intercept that is larger in magnitude than that for the period
  from 2005-2012. This again demonstrates that the base level for the gun homicide rate in
  Colorado has been lower since the ban on large capacity magazines was adopted than in any
  other sub-period.




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  Moreover, the coefficient for the trend for the sub-period during which the federal ban on
  assault weapons was in effect moves from nearly statistically significant in table 25 to strongly
  statistically significant in table 26. It is significant at better than 1%.

  The coefficient for this trend is negative. This indicates that the gun homicide rate in Colorado
  and its natural logarithm declined significantly during the sub-period in which the limited federal
  LCM ban was in effect. There was no significant trend in this rate or its natural logarithm during
  any of the other sub-periods.

  Tables 25 and 26 together demonstrate that, first, the base level of gun homicides in Colorado
  was significantly lower during the sub-period since the adoption of the Colorado LCM ban than
  in any other sub-period. Together, they suggest that gun homicides in Colorado were also
  reduced during the sub-period during which the federal ban on assault weapons was in effect.
  Table 26 further suggests that the effect of this ban was more likely to have been a continuous
  reduction in the gun homicide rate during the sub-period in which it was in effect, rather than a
  fixed reduction in its base level during this entire sub-period.


  V.C.   Summary

  Available evidence indicates that LCMs became less common among firearms confiscated by law
  enforcement officers in the State of Virginia during the period in with the limited federal ban on
  LCMs was in force. This suggests that utilization of LCMs in criminal activity declined.

  Moreover, available evidence indicates that the gun homicide rate in Virginia was lower during
  this same period. This suggests that the reduction in LCM utilization may have improved public
  safety.

  Evidence from Colorado, over a longer period of time, is consistent with the experience in
  Virginia. That evidence indicates that gun homicide rates were lower during both the period in
  which the limited federal LCM ban was in place and during the first years of the Colorado LCM
  ban.

  These results are noteworthy because both the limited federal LCM ban and the Colorado LCM
  ban were of restricted scope. The federal ban essentially prohibited domestic production of
  LCMs. This, on its own, would have ended growth in the stock of LCMs available to American
  civilians.

  However, the limited federal ban did not restrict the purchase of LCMs produced in other
  countries. On their own, these imports would have continued growth in the stock of LCMs
  available to American civilians.


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  In sum, the limited federal LCM ban almost surely reduced the growth in the stock of available
  LCMs. However, it possible that this stock continued to grow during the period of the ban,
  nevertheless.

  Similarly, the Colorado LCM ban prohibited the introduction of new LCMs into the State. This
  almost surely reduced growth in the stock of LCMs available to Colorado civilians. However,
  imports from other States were still possible, even if illegal. Consequently, that stock may still
  have grown, even if at slower rates.

  Neither the limited federal LCM ban nor the Colorado ban reduced the stock of LCMs available
  to civilians. It is possible that this stock continued to grow through imports, whether legal or
  illegal, under both bans.

  Therefore, the effects of either the limited federal LCM ban or the Colorado LCM ban on public
  safety could have been small. Evidence of any positive effects of either ban on public safety
  suggests that public safety may improve impressively in response to even minor reductions in
  the accessibility of LCMs.


  VI.    CONCLUSION

  LCMs are accesories to firearms. Available evidence indicates that they are rarely, if ever,
  deployed by civilians in legal self-defense or when assisting law enforcement.

  Self-reported instances of firearm-assisted self-defense fail to account adequately for the
  economic interests of others. They also identify actions taken with firearms as self-defensive
  that are not consistent with legal definitions of self-defense. Consequently, individuals invoke
  firearm-assisted self-defense more frequently than is economically efficient.

  The costs of firearm-related violence to the economy of the United States and to the economy
  of the State of Colorado are high and almost surely underestimated. These costs are
  exacerbated in firearms-related incidents in which LCMs are deployed. Consequently, the
  benefits that LCMs confer on the economy are much smaller than the costs that they impose.

  Limited bans on LCM sales and possession appear to reduce the prevalence of LCMs in
  firearm-related violence below the levels that would be experienced in the absence of these
  bans. They are therefore an effective device for the purpose of limiting the costs that LCMs
  impose on the economy.




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  DECLARATION

  I hereby declare that the above statement is true to the best of my knowledge and belief and
  that I understand it is made for use as evidence in court and is subject to penalty for perjury.

         Dated this 14th day of April, 2023.




                                               Jeffrey S. Zax




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                                                                                  13 January 2023

                                      CURRICULUM VITAE

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       Department of Economics, University of Colorado at Boulder:
         Associate Chair, Undergraduate Program, August 2006-July 2018, August 2019 to present
         Professor, August 1996 to present
         Associate Professor, August 1990 through August 1996

       Department of Economics, The Graduate School and University Center, City University of
       New York:
         Associate Professor, September 1989 through August 1991
         Assistant Professor, March 1985 through August 1989

       Department of Economics, Queens College, City University of New York:
         Associate Professor, September 1989 through August 1991
         Assistant Professor, January 1984 through August 1989
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  Papers in Refereed Journals

       Zax, Jeffrey S. and Yin He (2016) “The Law of One Price in Chinese factor markets”, The
       Singapore Economic Review, Vol. 61, No. 4, September.

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       tivity”, Journal of Applied Econometrics, Vol. 18, No. 5, September/October, 585-604.

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       earnings”, The Review of Economics and Statistics, Vol. 84, No. 4, November, 600-616.

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       multicandidate contests’ by Bernard Grofman and Michael Migalski”, Sociological Methods &
       Research, Vol. 31, No. 1, August, 73-84.

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       mance in professional road racing”, Journal of Sports Economics, Vol. 1, No. 4, November,
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       Leave Their Black Employees Behind?”, Journal of Labor Economics, Vol. 14, No. 3, July,
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       Zax, Jeffrey S. and Mark S. Skidmore (1994) “Property Tax Rate Changes and the Rate of
       Development”, Journal of Urban Economics, Vol. 36, No. 3, November, 314-332.
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       ics, Vol. 24, No. 3, June, 341-360.

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       of Urban Economics, Vol. 30, No. 2, September, 192-207.

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       tion in the Local Public Sector”, Journal of Labor Economics, Vol. 9, No. 3, July, 255-275.

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       Right-to-Work Laws and Local Public Sector Unionization”, Public Finance Quarterly, Vol.
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       Economics, Vol. 29, No. 2, March, 153-165.

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       Public Sector”, Industrial and Labor Relations Review, Vol. 43, No. 4, April, 447-462.

       Ichniowski, Casey and Jeffrey S. Zax (1990) “Today's Associations, Tomorrow's Unions”,
       Industrial and Labor Relations Review, Vol. 43, No. 2, January, 191-208.
       Zax, Jeffrey S. (1989) “Initiatives and Government Expenditures”, Public Choice, Vol. 63,
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       Summer, 469-493.

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       Economic Review, Vol. 79, No. 3, June, 560-567.

       Zax, Jeffrey S. (1989) “Employment and Local Public Sector Unions”, Industrial Relations,
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       Relations, Vol. 27, No. 3, Fall, 301-317.

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       Zax, Jeffrey S. (2010) “Comment on ‘EI extended model and the fear of ecological fallacy’, by
       Baodong Liu”, at Sociological Methods and Research website:
       http://smrjournal.wordpress.com/2010/04/21/comment-on-ei-extended-model-and-the-fear
       -of-ecological-fallacy-by-baodong-liu-sociological-methods-research-vol-36-no-1-3-25-2007/#
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  Papers in Edited Volumes

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       in China: Critical Issues in an Era of Rapid Growth, Song, Yan and Chengri Ding, eds.,
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       Zax, Jeffrey S. (2003) “Housing reform in urban China”, in How Far Across the River?
       Chinese Policy Reform at the Millenium, Hope, Nicholas C., Dennis Tao Yang and Mu Yang
       Li, editors, Stanford University Press, Palo Alto, 313-350.

       Zax, Jeffrey S. (2000) “The evolution of entrepreneurial activity in urban China, 1988-1995”,
       in China's Labor Market and Problems of Employment, Wang, Yuguo and Aimin Chen,
       editors, The Southwest University of Finance and Economics Press , Chengdu, China, 481-
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       Yang, Guifang Lynn, and Jeffrey S. Zax (2000) “Gender-linked income differences in
       transitional urban China”, in China's Labor Market and Problems of Employment, Wang,
       Yuguo and Aimin Chen, editors, The Southwest University of Finance and Economics Press,
       Chengdu, China, 566-584 (Chinese).
       Li, Haizheng, and Jeffrey S. Zax (2000) “Economic transition and labor supply in urban
       China”, in China's Labor Market and Problems of Employment, Wang, Yuguo and Aimin
       Chen, editors, The Southwest University of Finance and Economics Press , Chengdu, China,
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       Zax, Jeffrey S. (1998) “Immigration, race and space”, in Help or Hindrance? The Economic
       Implications of Immigration for African Americans, Daniel S. Hamermesh and Frank D.
       Bean, eds., Russell Sage Foundation, 222-252.

       Zax, Jeffrey S. (1988) “The Effects of Jurisdiction Types and Numbers on Local Public
       Finance”, in Fiscal Federalism: Quantitative Studies, Harvey S. Rosen, ed., National Bureau of
       Economic Research and the University of Chicago Press, 79-103.

       Zax, Jeffrey S. and Casey Ichniowski (1988) “The Effects of Public Sector Unions on Payroll,
       Employment and Municipal Budgets”, in When Public Sector Workers Unionize, Richard B.
       Freeman and Casey Ichniowski, eds., National Bureau of Economic Research and the
       University of Chicago Press, 323-361.
       Freeman, Richard B., Casey Ichniowski and Jeffrey S. Zax (1988) “Collective Organization in
       the Public Sector”, in When Public Sector Workers Unionize, Richard B. Freeman and Casey
       Ichniowski, eds., National Bureau of Economic Research and the University of Chicago Press,
       365-398.


  Published Book Reviews

       Zax, Jeffrey S. (2003) “Review of Urban Inequality: Evidence from Four Cities”, edited by
       Alice O'Connor, Chris Tilley and Lawrence D. Bobo, Journal of Economic Literature, Vol. 41,
       No. 1, March, 238.


  Papers Under Journal Review



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  Working Papers

       “Spatial disequilibrium, provincial and individual inequality in urban China”, January 2020.

       “Alphabetism: The effects of surname initial and the risk of being otherwise undistinguished”,
       with Alexander S. Cauley, November 2018.

       “Sixty years after Goodman's identity: Its unrecognized implications for regression-based
       inference”, October 2018.

       “The effects of IQ, high school effort and high school appearance on employment, income,
       marriage, spouse’s income and fertility at age 35", with Daniel I. Rees, June 2014.

       “Minimum standards of living, income and positional concerns in mid-reform urban China”,
       with Kirby Rattenbury, January 2013.

       “Housing allocations, welfare and inequality in early and mid-reform urban China”, February
       2012.

       “The effects of congestion on the propensities to telecommute and to commute off-peak”,
       with Ryan Hall, November 2010

       “The economic effects of comparable worth policies”, with Kristyn N. Ulrich, June 2008.

       “Comment on ‘Bloc voting, polarization, and the Panethnic Hypothesis: The case of Little
       Saigon’, by Christian Collet”, October 2007.

       “Levels and changes in residential segregation, measured correctly”, with John Gardner,
       October 2004.

       “Do households vote with their feet?”, with Valeriy D. Gauzhstein, July 2004.

       “Commodification of urban Chinese housing in mid-reform”, July 2004.

       Lynch, James G. and Jeffrey S. Zax, “The effects of prizes on contestant selection and
       performance: The case of Arabian horse racing”, November 2003.
       “Permanent, transitory and life-cycle inequality”, October 2002.

       “Marriage, divorce, income and military marriage incentives”, with David W. Flueck, April
       2002.

       “Economic transition and the labor market in China” with Haizheng Li, March 2002.

       “Demand, supply and race in small business credit markets”, December 2001.

       “Bank credit and minority-owned small businesses in metropolitan Denver”, November 2000.

       “Gender-linked income differences in transitional urban China” with Guifang Lynn Yang,
       June 1999.

       “The evolution of entrepreneurial activity in urban China, 1988-1995”, May 1999.

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       “ERISA, pension diversification and the welfare of workers and retirees”, with Mehmet M.
       Tutuncu, February 1998.

       “Fertility behavior and the absence of ‘missing females’ in urban China”, with Kathleen Greer
       Rossman, September 1997.

       “Compensation for holding up half the sky? Gender-based income differences in urban
       China” with Lynn Yang, October 1996.

       “Investment in education in urban China”, May 1996.

       “Analysis of client treatments for Colorado Child Welfare Service”, with Margaret Irish,
       February 1996.

       “Involvement and reinvolvement: Child abuse and neglect in Colorado”, with Natalie Mullis,
       February 1996.
       “Human capital in a workers' paradise: Returns to education in urban China”, August 1995.

       “Maltreatment case loads and county characteristics in Colorado”, with Margaret Irish, May
       1995.

       “The stability of jobs in the local public sector”, with Jonathan S. Leonard, April 1995.

       “When should economics majors take the introductory statistics course?”, with Douglas L.
       Jeavons and Larry D. Singell, January 1994.

       “The effects of nonwage compensation on measured income distribution, income tax
       progressivity and returns to education”, October 1993.

       “Optimal worker portfolios: Pensions, ESOPs and anti-ESOPs”, with Mehmet M. Tutuncu,
       May 1992.

       “The effects of political voice on union formation among municipal employees”, November
       1990.
       “Progressive taxation and regressive subsidies: Income tax exemptions and nonwage compen-
       sation”, November 1989.

       “The economic effects of function numbers in local government tiers”, July 1988.


  Textbook

       Introductory Econometrics: Intuition, Proof and Practice, (2011), Stanford University Press,
       Palo Alto, CA.

       Solutions to Introductory Econometrics: Intuition, Proof and Practice, (2011),
       http://www.sup.org/econometrics/.




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  Service as Editor and Referee

       Editorial Board member, Journal of Urban Management, April 2010-present.

       Coeditor, Chinese Economic Review, January 2005-February 2010.

       Recipient, 2009 ‘Excellence in Refereeing Award”, American Economic Review.

       Referee for Journals: The American Economic Review, The American Economic Review:
       Insights, Asian Economic Journal, Asia-Pacific Journal of Regional Science, Cambridge
       Journal of Regions, Economy and Society, Comparative Economic Studies, Contemporary
       Policy Issues, Economic Inquiry, Economic Journal, Economic Modeling, Economica,
       Economics Letters, Economics of Governance, Economics of Transition, Environment and
       Planning B: Urban Analysis and City Science, European Economic Review, Fiscal Studies,
       Health Economics, International Economic Review, Industrial and Labor Relations Review,
       Industrial Relations, International Journal of Business and Economics, Journal of Applied
       Econometrics, Journal of Comparative Economics, Journal of Demographic Economics,
       Journal of Development Economics, Journal of Housing Economics, Journal of Human
       Resources, Journal of Industrial Relations, Journal of Labor Economics, Journal of Law and
       Economics, Journal of Law, Economics, and Organization, Journal of Management Science
       and Engineering, Journal of Policy Analysis & Management, Journal of Political Economy,
       Journal of Public Economics, The Journal of Real Estate Finance and Economics, Journal of
       Regional Science, Journal of Sports Economics, Journal of the European Economic Associa-
       tion, Journal of Theoretical Politics, Journal of Urban Economics, Labour Economics: An
       International Journal, National Tax Journal, New Palgrave Dictionary of Economics, Papers
       in Regional Science, Public Choice, Public Finance Review, Publius, Regional Science and
       Urban Economics, Regional Science Perspectives, Research in Labor Economics, Review of
       Economics and Statistics, Review of Income and Wealth, Social Science Quarterly, Sociologi-
       cal Methods & Research, Southern Economic Journal, Urban Affairs Review, Urban Geogra-
       phy , Urban Studies, and the World Bank Economic Review, August 1990 to present.

       Referee for Foundations: CERGE-EI, National Science Foundation, Russell Sage Foundation,
       Research Grants Council of Hong Kong, August 1990 to present.

       Referee for book publishers: Oxford University Press, Pearson Education, August 1990 to
       present.


  Professional Memberships

       American Economic Association, Association for Public Policy Analysis and Management,
       Chinese Economists Society, International Association for Research in Income and Wealth,
       Midwest Economics Association, North American Regional Science Council, Society for the
       Study of Economic Inequality, Society of Labor Economists, Southern Economic Associa-
       tion, Urban Economics Association, Western Economics Association International


  Grants

       Co-Principal Investigator, “Caseload Characteristics and Evaluation of Specific Colorado
       Works Programs”, Colorado Department of Human Services, 6/1/2011-11/30/2012.


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       Principal Investigator, “Colorado Department of Transportation Safety Program Problem
       ID”, Colorado Department of Transportation, 6/1/2009-9/30/2009.

       Principal Investigator, “Colorado Department of Transportation Safety Program Problem
       ID”, Colorado Department of Transportation, 6/1/2008-9/30/2008.

       Principal Investigator, “Colorado Department of Transportation Safety Program Problem
       ID”, Colorado Department of Transportation, 6/26/2007-6/15/2008.

       Principal Investigator, “Colorado Department of Transportation Safety Program Problem
       ID”, Colorado Department of Transportation, 6/16/2006-6/15/2007.

       Principal Investigator, “Colorado Department of Transportation Safety Program Problem ID
       and Annual Report”, Colorado Department of Transportation, 6/16/2005-6/30/2006.

       Principal Investigator, “Colorado Department of Transportation Safety Program Problem ID
       and Annual Report”, Colorado Department of Transportation, 12/8/2004-6/30/2005.
       Principal Investigator, “Colorado Department of Transportation Safety Program Annual
       Report”, Colorado Department of Transportation, 11/5/2003-6/30/2004.

       Principal Investigator, “Election Cycles, Balanced Budget Requirements and Tax Limitations
       in State Governments”, Council on Research and Creative Work, University of Colorado,
       7/1/1991-6/30/1992.

       Principal Investigator, “Nonwage Compensation and Enterprise Performance”, PSC-CUNY
       Award #668406, 7/1/1988-6/30/1989.

       Principal Investigator, Social Science Research Council Dissertation Fellowship, no.
       SS-25-83-04, 12/1/1982-2/29/1984.


  Awards and Honors

       Biography included in Who’s Who in Economics, 4th Edition.
       Biography included in Marquis Who’s Who in America, 57th and 58th editions.

       Biography included in Marquis Who’s Who in American Education, 6th edition.

       Biography included in Marquis Who’s Who in the East, 23rd edition.

       Biography included in Marquis Who’s Who in Finance and Business, 35th edition.

       Stanford Calderwood Teaching Excellence Award from the Department of Economics at the
       University of Colorado at Boulder, May 2000.

       Stanford Calderwood Teaching Excellence Award from the Department of Economics at the
       University of Colorado at Boulder, April 1993.

       Fulbright Lecturer at the University of Ghana, Legon, Ghana, January-April 1990.


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  Additional Professional Experience

       Consultant to the Attorney General of Colorado regarding the minority set-asides in State
       grant programs, March 2021-April 2021.

       Consultant to the Attorney General of Colorado regarding the economic character of Colo-
       rado’s Hospital Provider Fee, March 2018-June 2018.

       Consultant to the City of Eastpointe, Michigan, regarding statistical analysis of voting patterns,
       October 2017-March 2018.

       Consultant to the Attorney General of Colorado regarding the effects of restrictions on
       possession of large-capacity magazines for firearms, February-May 2017.

       Consultant to the Attorney General of Colorado regarding the effects of ballot secrecy on the
       integrity of the electoral system, October-November 2016.
       Consultant to the Attorney General of Colorado regarding the effects of state tax and
       expenditure limitations on state government behavior, September 2014.

       Consultant to the Attorney General of Colorado regarding the effects of restrictions on
       possession of large-capacity magazines for firearms, July 2013-April 2014.

       Consultant to the Attorney General of Colorado regarding ethnic composition of inactive
       voters, July 2012-December 2012.

       Consultant to the Attorney General of Arkansas regarding the statistical analysis of voting
       patterns, March-May 2012.

       Consultant to the Attorney General of Colorado regarding compensation and incentives for
       petition-gatherers, August 2010-May 2012.

       Consultant to the Attorney General of Colorado regarding training and work opportunities for
       disabled inmates, April 2009-October 2010.
       Consultant to the Attorney General of Colorado regarding predatory lending practices,
       February 2009-February 2010.

       Consultant to the Attorney General of Arizona regarding the statistical analysis of voting
       patterns, February-July 2008.

       Consultant to the City of Euclid, Ohio, regarding the statistical analysis of voting patterns,
       March through August 2007.

       Consultant to the Colorado Gaming Association, March 2007.

       Consultant to the World Bank, May-June 2005.

       Consultant to the Attorney of Adams County, April-May 2004.



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       Consultant to the Attorney General of South Dakota regarding the statistical analysis of voting
       patterns, March 2002-June 2005.

       Consultant to the State of Wyoming Legislative Service Office regarding labor market issues in
       the educational sector, July 2002-November 2002.

       Consultant to the Mountain States Legal Foundation regarding the statistical analysis of voting
       patterns, April 2002-June 2002.

       Consultant to the City of Valdez, Alaska, regarding economic integration and racial block
       voting, October 2001-December 2001.

       Expert witness for the Attorney General, the State of Montana, regarding racial and ethnic
       block voting, July 2001-November 2001.

       Consultant to the Attorney General of South Dakota regarding the statistical analysis of voting
       patterns, May 2000-October 2000.
       Consultant to Attorney General of Colorado regarding the effects of parental notification on
       adolescent abortions, September 1999-June 2000.

       Consultant to Sycare regarding evaluation of community mental health center performance,
       April 1999-October 1999.

       Consultant to BBC Research & Consulting and the State of Colorado Workforce Coordinat-
       ing Council regarding evaluation of State-sponsored training programs, June 1998- September
       1998.

       Consultant to the City Attorney of the City and County of Denver regarding the provision of
       bank credit to small minority-owned businesses, September 1997-August 1998.

       Consultant to the Attorney General of Colorado regarding the effects of ballot position on
       voting behavior, March 1997-May 1998.

       Consultant to the Attorney General of Montana regarding racial and ethnic block voting,
       November 1996-August 1998.
       Consultant to BBC Research & Consulting and the State of Colorado Economic Develop-
       ment Commission regarding the State's strategic plan for economic development, September
       1996-February 1997.

       Consultant to the Attorney General of Michigan regarding variations in impacts of pollutants
       across ethnic groups, July 1996-May 1997.

       Consultant to the Forward Estes Park Foundation regarding local economic development
       issues, May 1996-September 1996.

       Consultant to the Department of Health Care Policy and Financing, Office of Public and
       Private Initiatives, the State of Colorado, regarding the evaluation of hospital performance,
       March 1996-August 1996.



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       Consultant to the Department of Human Services, Office of Self Sufficiency Programs, the
       State of Colorado, regarding the evaluation of microentrepreneur training programs, January-
       September 1996 and January-August 1997.

       International Scholar appointment with the Asian Development Bank, 1995-1997.

       Principal contractor to the Piton Foundation for statistical analysis of child abuse incidence
       and treatment in Colorado, September 1994-February 1996.

       Consultant to the Attorney General of Colorado regarding racial block voting in state
       legislative elections, October 1993-June 1994.

       Instructor in Introductory Mathematics for Economists, at the Economics Institute, Boulder,
       Colorado, August 1993.

       Principal Investigator, review of econometric literature regarding the economic implications of
       health care reform for the Office of the Governor of the State of Colorado, April- July 1993.
       Instructor in Masters' level Mathematics for Economists at the Economics Institute, Boulder,
       Colorado, March-May 1993.

       Consultant to the Official Unsecured Creditors' Committee of Castle Pines North Metropoli-
       tan District, Colorado, regarding the effects of property tax rate increases on the rate of
       residential development, June 1992-May 1993.

       Advisor to the Cost and Quality Study of Early Care and Education project, at the University
       of Colorado at Denver Department of Economics, Spring 1992-Fall 1994.

       Instructor in Intermediate Microeconomics at the Economics Institute, Boulder, Colorado,
       May 1992.

       Instructor in Intermediate Microeconomics and Introductory Mathematics for Economists,
       for the Economics Institute's program at the Ministry of Finance, Jakarta, Indonesia, May
       1991.

       Consultant to the Del Valle School District, Texas, regarding the effects of different districting
       schemes on minority membership of the School Board, October 1990-February 1991.

       Instructor in applied econometric analysis, Institute of Economics, Chinese Academy of Social
       Sciences, Beijing, People's Republic of China, December 1988 and June 1990.




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        History of Expert Participation Through Deposition or Testimony

                                         Jeffrey S. Zax, Ph.D.

                                              2 April 2018


  United States of America v. City of Eastpointe, et al., United States District Court for the
  Eastern District of Michigan, Southern Division, Civil Action No. 4:17-cv-10079.

         Deposition:     19 March 2018


  Rocky Mountain Gun Owners, et al. v. John W. Hickenlooper, Governor of the State of
  Colorado, Denver District Court Case No. 2013CV33879.

         Deposition:     27 March 2017                  Testimony:      4 May 2017


  Hill et al. v. Williams et al. and Harlos, et al. v. Morrissey, et al., United States District Court
  for the District of Colorado, Civil Action No. 16-cv-02627-CMA.

                                                        Testimony:      2 November 2016


  Colorado Outfitters Association, et al. v. John W. Hickenlooper, Governor of the State of
  Colorado, United States District Court for the District of Colorado, Civil Action No. 13-CV-
  1300-MSK-MJW.

         Deposition:     31 October 2013                Testimony:      9 April 2014
                         19 March 2014


  Future Mae Jeffers, et al. v. Arkansas Board of Apportionment, United States District Court
  for the Eastern District of Arkansas, Case No. 2:12-cv-00016.

         Deposition:     3 April 2012                   Testimony:      9-10 May 2012


  Independence Institute, et al., v. Buescher., United States District Court for the District of
  Colorado, Civil Action No. 10-CV-00609-PAB-MEH.

         Deposition:     22 March 2011                  Testimony:      24 May 2012

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  Jesse Montezz, et al., v. Bill Owens, et al., United States District Court for the District of
  Colorado, Civil Action No. 92-CV-00870-JLK.

                                                        Testimony:      25 October 2010

  Maria M. Gonzalez, et al., v. State of Arizona, et al., United States District Court for the
  District of Arizona, No. CV06-01268 PHX ROS, No. CV06-1362 PCT ROS (Cons) and No.
  CV06-1575 PCT ROS (Cons)

         Deposition:     12 March 2008                  Testimony:      17-18 July 2008


  The United States of America v. City of Euclid, Ohio and Cuyahoga County Board of
  Elections, Hazeltine, United States District Court for the Northern District of Ohio, Eastern
  Division, Civil Action No. 1:06-CV-01652

         Deposition:     25 May 2007                    Testimony:      14 August 2007


  Bone Shirt, et al. v. Hazeltine, et al., United States Federal District Court for the District of
  South Dakota, Central Division, Civil Action No. 01-3032-KES (D.S.D.)

         Deposition:     19 May 2003                    Testimony:      26 April 2004
                         26 January 2004


  Planned Parenthood of the Rocky Mountains, Inc., et al., v. William Owens, et al., United
  States District Court for the District of Colorado, Civil Action No. 99-WM-60.

         Deposition:     11 February 2000
                         24 February 2000
                         1 June 2000


  Libertarian Party of Colorado, et al. v. Victoria Buckley, United States District Court for the
  District of Colorado, Civil Action No. 96-WM-1983.

                                                        Testimony:      26 May 1998




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  Earl Old Person, et al. v. Mike Cooney, et al., United States District Court for the District of
  Montana, Great Falls Division, Civ. No. CV-96-004-GF-PGH.

         Deposition:     4 June 1997                    Testimony:     26 March 1998
                         22 August 2001                                6 November 2001


  NAACP-Flint Chapter v. Engler, Circuit Court for Genesee County, State of Michigan, No.
  95-38228.

         Deposition:     7 February 1997                Testimony:     30 April 1997
                         21 April 1997


  Jennie Sanchez, et al. v. State of Colorado, et al., United States District Court for the District
  of Colorado, Civil Action No. 93-S-963.

         Deposition:     30 December 1993               Testimony:     24 March 1994


  Central Bank v. Castle Pines North, et al., District Court, County of Douglas, State of
  Colorado, Case No. 92-CV-4433.

         Depositions: 17 March 1993
                      12 April 1993


  Enrique G. Lopez, Jr., et al. v. Del Valle Independent School District, et al., 261st District
  Court of Travis County, State of Texas.

         Depositions: 13 November 1990                  Testimony:     5 February 1991
                      8 January 1991




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